                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 1 of 59


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                                                                        and on behalf of All Those Similarly Situated
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                                                                   17                                            UNITED STATES DISTRICT COURT
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                                                                   18                                                   DISTRICT OF PUERTO RICO
                                    San Francisco, CA 94111
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                                                                   19
                                                                   20
                                                                        DANIEL CONCEPCION,                      )                         Case No.
                                                                   21   Individually and on Behalf of All Those )
                                                                        Similarly Situated,                     )
                                                                   22                                           )                         CLASS ACTION COMPLAINT FOR
                                                                                                  Plaintiffs,   )                         VIOLATIONS OF ANTI-TRUST
                                                                   23                                           )                         LAWS; VIOLATIONS OF
                                                                                          v.                    )                         FEDERAL AND PUERTO RICO
                                                                   24                                           )                         WAGE AND HOUR LAWS;
                                                                        OFFICE OF THE COMMISSIONER OF           )                         DECLARATORY RELIEF;
                                                                   25   BASEBALL, an unincorporated association )                         VIOLATION OF
                                                                        doing business as MAJOR LEAGUE          )                         CONSTITUTIONAL RIGHT TO
                                                                   26   BASEBALL, ROB MANFRED; ALLAN            )                         EQUAL PROTECTION
                                                                        HUBER “BUD” SELIG; KANSAS CITY          )
                                                                   27   ROYALS BASEBALL CORP.;                  )
                                                                        MIAMI MARLINS, L.P.; SAN FRANCISCO )                              JURY TRIAL DEMANDED
                                                                   28   BASEBALL ASSOCIATES LLC; BOSTON         )
                                                                        RED SOX BASEBALL CLUB L.P.; ANGELS )



                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 2 of 59


                                                                        BASEBALL LP; CHICAGO WHITE SOX                                   )
                                                                   1    LTD.; ST. LOUIS CARDINALS, LLC;                                  )
                                                                        COLORADO ROCKIES BASEBALL CLUB,                                  )
                                                                   2    LTD.; BASEBALL CLUB OF SEATTLE, LLP;                             )
                                                                        THE CINCINNATI REDS, LLC; HOUSTON                                )
                                                                   3    BASEBALL PARTNERS LLC; ATHLETICS                                 )
                                                                        INVESTMENT GROUP, LLC; ROGERS                                    )
                                                                   4    BLUE JAYS BASEBALL PARTNERSHIP;                                  )
                                                                        CLEVELAND INDIANS BASEBALL CO.,                                  )
                                                                   5    L.P.; CLEVELAND INDIANS BASEBALL                                 )
                                                                        CO., INC.; PADRES L.P.; SAN DIEGO                                )
                                                                   6    PADRES BASEBALL CLUB, L.P.;                                      )
                                                                        MINNESOTA TWINS, LLC; WASHINGTON                                 )
                                                                   7    NATIONALS BASEBALL CLUB, LLC;                                    )
                                                                        DETROIT TIGERS, INC.; LOS ANGELES                                )
                                                                   8    DODGERS, LLC; LOS ANGELES                                        )
                                                                        DODGERS HOLDING CO.; STERLING                                    )
                                                                   9    METS L.P.; ATLANTA NATIONAL                                      )
                                                                        LEAGUE BASEBALL CLUB, INC.; AZPB                                 )
                                                                   10   L.P.; BALTIMORE ORIOLES, INC.;                                   )
                                                                        BALTIMORE ORIOLES, L.P.; THE                                     )
                                                                   11   PHILLIES L.P.; PITTSBURGH BASEBALL,                              )
                                                                        INC.; PITTSBURGH BASEBALL P’SHIP;                                )
                                                                   12   NEW YORK YANKEES P’SHIP; TAMPA                                   )
                                                                        BAY RAYS BASEBALL LTD.; RANGERS                                  )
                                                                   13   BASEBALL EXPRESS, LLC; RANGERS                                   )
                                                                        BASEBALL, LLC; CHICAGO BASEBALL                                  )
                                                                   14   HOLDINGS, LLC; MILWAUKEE BREWERS                                 )
                                                                        BASEBALL CLUB, INC.; MILWAUKEE                                   )
                                                                   15   BREWERS BASEBALL CLUB, L.P.,                                     )
                                                                                                                                         )
                                                                   16                                                      Defendants.
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                                                                        Puerto Rico Class Action Baseball Complaint.docx
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 3 of 59


                                                                   1                                                         TABLE OF CONTENTS
                                                                   2

                                                                   3    Contents
                                                                   4    I.         BACKGROUND .................................................................................................... 3
                                                                   5               I.          The Business of MLB ................................................................................ 4
                                                                   6               III.        The Illegal Minor League Salaries ........................................................... 7

                                                                   7    II.        PARTIES .............................................................................................................. 10

                                                                   8               1.          Plaintiffs.................................................................................................... 10
                                                                                   2.          Defendants ................................................................................................ 10
                                                                   9
                                                                        III.       CLASS ACTION ALLEGATIONS ................................................................... 18
                                                                   10
                                                                        IV.        FACTUAL ALLEGATIONS ............................................................................. 18
                                                                   11

                                                                   12   Count 1: Federal Antitrust Violations ........................................................................... 18

                                                                   13   I.         NATURE AND BACKGROUND OF FEDERAL ANTI-TRUST
                                                                                   CLAIMS ............................................................................................................... 19
                                                                   14
                                                                        III.       ANTITRUST CLASS ACTION ALLEGATIONS........................................... 21
                                                                   15
                                                                        V.         FACTUAL ALLEGATIONS ............................................................................. 24
                                                                   16
                                                                                   II.         The Business of MLB .............................................................................. 24
                                                                   17
              SAMUEL KORNHAUSER




                                                                                   III.        Minor Leaguers’ Uniform, Adhesive Contracts ................................... 25
                                  155 Jackson Street, Suite 1807




                                                                   18
                                    San Francisco, CA 94111




                                                                                   III.        The Antitrust Exemption for the “Business of Baseball” .................... 33
LAW OFFICES




                                                                   19              IV.         Plaintiff and the Class Have Suffered Antitrust Injury –
                                                                                               Damages for Violation of Section 1 of the Sherman Act ................... 36
                                                                   20
                                                                        Count 2: Damages for Violation of the Sherman Act 15 U.S.C. § 2 ........................... 39
                                                                   21
                                                                        Count 3: Injunctive Relief - Violation of Sections 1 and 2 of The Sherman Act ....... 40
                                                                   22
                                                                        Count 4: Declaratory Relief - Curt Flood Act .............................................................. 41
                                                                   23

                                                                   24   Count 5: Declaratory Relief - Sherman Act .................................................................. 42

                                                                   25   FEDERAL WAGE AND HOUR VIOLATIONS ......................................................... 43

                                                                   26   Count 6: FLSA Minimum Wage and Overtime Violations ......................................... 43

                                                                   27   IV.        FLSA COLLECTIVE ACTION ALLEGATIONS .......................................... 45
                                                                   28   V.         JURISDICTION, VENUE, AND COMMERCE .............................................. 46



                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 4 of 59


                                                                        Count 7: FLSA Record Keeping Requirements ........................................................... 49
                                                                   1

                                                                   2    VIII. PUERTO RICO WAGE AND HOUR VIOLATIONS .................................... 49

                                                                   3    Count 8: Puerto Rico Minimum Wage Violations........................................................ 50

                                                                   4    Count 9: Puerto Rico Unpaid Overtime Violations...................................................... 52

                                                                   5    IX. PRAYER FOR RELIEF ........................................................................................... 53
                                                                   6    X.         DEMAND FOR JURY TRIAL .......................................................................... 57
                                                                   7

                                                                   8

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                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   2
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 5 of 59


                                                                                   This class action is brought by Plaintiff, Daniel Concepcion, individually and all those
                                                                   1

                                                                   2    similarly situated minor league baseball players (“minor leaguers”), on behalf of himself and

                                                                   3    the classes of minor leaguers he represents, against the defendants, the monopsony cartel of 30
                                                                   4    major league baseball clubs and the Commissioner of Major League Baseball (collectively
                                                                   5
                                                                        “MLB”), for violations of the Sherman Act 15 U.S.C. §§1 and 2 and violations of the Fair
                                                                   6
                                                                        Labor Standards Act (“FLSA”), Puerto Rico wage and labor laws, and declaratory and
                                                                   7
                                                                        injunctive relief for violations of the equal protection clause of the Fifth Amendment of the
                                                                   8

                                                                   9    United States Constitution.

                                                                   10              Plaintiffs allege as follows:
                                                                   11

                                                                   12                                                         I.          BACKGROUND

                                                                   13
                                                                                 1.            The Defendants 1 are individual members of the monopsony cartel known as
                                                                   14
                                                                        Major League Baseball (“MLB”).
                                                                   15
                                                                                 2.            MLB and each of the 30 individual, separately owned teams admittedly openly
                                                                   16
                                                                        collude to restrict and depress, at below market rates, the wages and compensation they pay
                                                                   17
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                                                                        their minor league players (“the Class”).
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                                                                   18
                                                                                 3.            MLB routinely colludes to violate federal and Puerto Rico wage and hour laws
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                                                                   19
                                                                        and to violate federal anti-trust laws to suppress, below market value, the compensation and
                                                                   20
                                                                        wages the Class receive for their work as minor league baseball players.
                                                                   21
                                                                                 4.            In order to monopolize minor league players, and restrain and depress minor
                                                                   22
                                                                        league players’ salaries and to violate the FLSA and Puerto Rico’s minimum wage and labor
                                                                   23
                                                                        laws, the MLB cartel inserted a provision (known as the reserve clause) into players’ contracts
                                                                   24
                                                                        that allows teams to retain the contractual rights to players and restricts their movement and
                                                                   25
                                                                        their ability to negotiate with other teams for their baseball services and the compensation they
                                                                   26
                                                                        receive, which reserve clause preserves MLB’s monopsony over the minor league system of
                                                                   27

                                                                   28   1
                                                                            The term “Defendants” refers to the 30 Major League Team defendants named in this Complaint.
                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022    3
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 6 of 59


                                                                   1    artificially low compensation paid to minor league players and their nonexistent contractual
                                                                   2    mobility. In order to restrain trade and competition in the relevant market for minor league
                                                                   3    players, the 30 independent, major league baseball teams have annually illegally entered into
                                                                   4    agreements between themselves, to set at non-competitive, below market, depressed rates, the
                                                                   5    wages and compensation they have paid and will pay their minor league players.
                                                                   6            5.             Defendants’ conspiracy and agreement to restrain trade in the market for the
                                                                   7    employment of minor league baseball players has had an adverse effect on interstate commerce
                                                                   8    in Puerto Rico and nationwide by lowering the compensation minor leaguers receive and spend
                                                                   9    throughout the United States.
                                                                   10
                                                                                   I. The Business of MLB
                                                                   11

                                                                   12           6.             MLB is big business. Its games are broadcast throughout the United States.

                                                                   13   During the 2019 season, over 68.5 million fans paid to attend MLB games. MLB revenues

                                                                   14   exceeded $12.4 Billion, and the average value of an MLB team exceeded $2 Billion. MLB

                                                                   15   national television revenues were $1.84 Billion and local television revenues were $2.1 Billion.

                                                                   16
                                                                                7.             In 2020, over 40 million fans paid to attend minor league games throughout the
                                                                   17
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                                                                        United States played by 160 minor league teams and over 6,000 minor league players.
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                                                                                8.             The MLB teams acquire minor leaguers in one of two ways: through an amateur
                                                                   19
                                                                        draft or through free agency.
                                                                   20

                                                                   21           9.             In 1965, Commissioner Ford Frick oversaw the development and

                                                                   22   implementation of what is now the Rule 4 draft. By forcing amateur players to participate in the

                                                                   23   draft, MLB and its Commissioner limited those players seeking to enter MLB’s developmental

                                                                   24   system to only negotiating with the single team that drafted that player. Mr. Manfred has

                                                                   25   continued to employ those practices since becoming Commissioner in 2014.

                                                                   26         10.              MLB’s current Rule 4 draft, as developed and enforced by the Commissioner,
                                                                   27   requires all amateur players from Puerto Rico, the United States, Mexico and Canada to
                                                                   28
                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   4
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 7 of 59


                                                                   1    participate in the draft in order to sign with an MLB team.2 Beginning with the worst MLB
                                                                   2    team from the previous season, teams select previously amateur players over the course of forty
                                                                   3    rounds.
                                                                   4
                                                                               11.             Players selected in the Rule 4 draft are between the ages of 18 and 22 (with the
                                                                   5
                                                                        exception of a few players who are 23). Once selected by a Franchise, a player cannot bargain
                                                                   6
                                                                        with any other Franchise, as MLB’s rules grant the drafting Franchise exclusive rights to the
                                                                   7
                                                                        player.3
                                                                   8
                                                                               12.             All MLB teams acquire players from Puerto Rico through the draft and acquire
                                                                   9
                                                                        other Latin American players from the Dominican Republic and Venezuela through “free
                                                                   10
                                                                        agency”. MLB rules allow the Franchises to sign the players as early as age sixteen, so most
                                                                   11
                                                                        Latinos are either sixteen or seventeen when signing with a Franchise.4
                                                                   12

                                                                   13          13.             Many Latino minor leaguers come from poor families and have only the

                                                                   14   equivalent of an eighth-grade education. Before signing, many are only represented by

                                                                   15   similarly-educated “buscones”—usually former players who maintain training facilities for

                                                                   16   young amateur players. Some of the Franchises’ scouts have been reprimanded in recent years

                                                                   17   for participating in bribes and kickback schemes with the buscones, and the FBI has even
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                                                                        investigated the exploitative practices.5 These Latino signees comprise over forty percent of
                                    San Francisco, CA 94111




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                                                                   19   minor leaguers.

                                                                   20          14.             Similar to the slotting system, Mr. Selig also personally oversaw the
                                                                   21   development of bonus pools for Latino players in an effort to curtail Latino signing bonuses.
                                                                   22   Instituted in 2012, Mr. Selig’s plan allows each Franchise a certain amount to spend on signing
                                                                   23

                                                                   24   2
                                                                            MLR 4(a).
                                                                   25   3
                                                                            MLR 4(e).

                                                                   26   4
                                                                            See MLR 3(a).

                                                                   27   5
                                                                         See Jorge L. Ortiz, Exploitation, steroids hitting home in Dominican Republic, USA Today (Mar. 26, 2009),
                                                                        http://usatoday30.usatoday.com/sports/baseball/2009-03-26-dominican-republic-cover_N.htm.
                                                                   28
                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   5
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 8 of 59


                                                                   1    bonuses for Latino players. Mr. Manfred has continued these practices.
                                                                   2
                                                                               15.             MLB rules, as implemented and enforced and renewed and adopted annually by
                                                                   3
                                                                        the Defendants and the Commissioner, require all teams to use the same uniform player
                                                                   4
                                                                        contract (“UPC”) when signing these previously amateur players. MLR 3(b)(2) states:
                                                                   5
                                                                                   To preserve morale among Minor League players and to produce the similarity
                                                                   6               of conditions necessary for keen competition, all contracts…shall be in the form
                                                                                   of the Minor League Uniform Player Contract that is appended to these Rules as
                                                                   7               Attachment 3. All Minor League Uniform Player Contracts between either a
                                                                                   Major or a Minor League Club and a player who has not previously signed a
                                                                   8               contract with a Major or Minor League Club shall be for a term of seven Minor
                                                                                   League playing seasons…. The minimum salary in each season covered by a
                                                                   9
                                                                                   Minor League Uniform Player Contract shall be the minimum amount
                                                                   10              established from time to time by the Major League Clubs….

                                                                   11
                                                                               16.             Moreover, “[a]ll contracts shall be in duplicate,” and “[a]ll…must be filed with
                                                                   12
                                                                        the Commissioner…for approval.”6 No contract can vary any term without the approval of the
                                                                   13
                                                                        Commissioner.7 A minor leaguer cannot work for an MLB team without signing the UPC
                                                                   14
                                                                        because a “player’s refusal to sign a formal contract shall disqualify the player from playing
                                                                   15
                                                                        with the contracting Club or entering the service of any Major or Minor League Club.”8
                                                                   16
                                                                               17.             Thus, the UPC grants the MLB team the exclusive rights to the minor leaguer
                                                                   17
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                                                                        for seven championship seasons (about seven years).9 During that time period, the MLB team
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                                                                        may assign the minor leaguer’s rights to any other team, and the MLB team may terminate the
                                                                   19
                                                                        agreement at any time for almost any reason.10
                                                                   20

                                                                   21          18.             But the minor leaguer cannot leave voluntarily to play for another baseball

                                                                   22   team—even outside of MLB, and even outside of the United States.11 A player doing so “shall

                                                                   23   6
                                                                            MLR 3(b)(3); see also MLR 3(b)(4) (saying that a player cannot play until the UPC is signed).
                                                                   24   7
                                                                            MLR 3(b)(3).
                                                                   25   8
                                                                            MLR 3(d).

                                                                   26   9
                                                                            MLR 3(b)(2); MLR Attachment 3, UPC ¶ VI.A.

                                                                   27   10
                                                                             MLR 9; MLR Attachment 3, UPC ¶ XVIII.

                                                                   28   11
                                                                             MLR 18; MLR Attachment 3, UPC ¶ XVI.
                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   6
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 9 of 59


                                                                   1    be subject to the discipline of the Commissioner.”12 Retirement from baseball during the seven-
                                                                   2    year term even requires the Commissioner’s approval.13
                                                                   3
                                                                               19.             The UPC traps a player in the minor leagues of a single organization. A minor
                                                                   4
                                                                        leaguer selected in the amateur draft can only sign with the MLB team that drafted him. For the
                                                                   5
                                                                        next seven years, the MLB team controls the minor leaguer’s rights. By the expiration of the
                                                                   6
                                                                        contract, much of the value of the minor leaguer as a young prospect has expired because the
                                                                   7
                                                                        player has aged.
                                                                   8
                                                                               20.             MLB rules make clear that MLB and each of its 30 teams are the employers of
                                                                   9
                                                                        minor leaguers at all times.
                                                                   10

                                                                   11          21.             MLB requires that each defendant team pay the salaries of its minor league players

                                                                   12   at all times and allows each defendant the ability to control each of its minor leaguer’s

                                                                   13   assignments.14

                                                                   14
                                                                                   III.        The Illegal Minor League Salaries
                                                                   15

                                                                   16          22.             Since minor leaguers do not belong to a union, nothing has prevented the
                                                                   17
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                                                                        Defendants from artificially and illegally depressing minor league wages. Given that MLB
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                                                                   18   carefully controls the entryway into the highest levels of baseball and given the young minor
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                                                                   19   leaguer’s strong desire to enter the industry, MLB and the Defendants have exploited minor
                                                                   20   leaguers by paying anti-competitive, fixed salaries below minimum wage, by not paying
                                                                   21   overtime wages, and by often paying no wages at all.
                                                                   22          23.             Plaintiff is informed and believes that MLB and the Commissioner issue minor
                                                                   23   league salary “guidelines” which are anti-competitive and fixed and which each defendant team
                                                                   24   agrees to and is required to pay for players signed to an initial UPC, and teams cannot deviate
                                                                   25

                                                                   26   12
                                                                             MLR 18.

                                                                   27   13
                                                                             MLR 14.
                                                                        14
                                                                             MLR 56(g).
                                                                   28
                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   7
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 10 of 59


                                                                   1    from these “guidelines”. MLR 3(c) requires that all first-year minor leaguers earn “the amount
                                                                   2    established by” MLB.15 It is currently believed that all first-year minor leaguers employed by the
                                                                   3    Defendants must be paid $1,100 per month.
                                                                   4           24.             Salaries beyond the first year are also fixed and similar across all Franchises. It is
                                                                   5    believed that discussions regarding minor league salaries (and other working conditions
                                                                   6    concerning minor leaguers) occur when MLB hosts its quarterly owner meetings that all
                                                                   7    Defendants attend.
                                                                   8           25.             While salary guidelines are not publicly available, the Plaintiffs are informed and
                                                                   9    believe, based on the salaries paid by the Defendants across the minor leagues, that MLB
                                                                   10   currently imposes the following salaries: less than $12,000 per year for Rookie and Short Season
                                                                   11   Class A; $12,400 per year for Class A; $14,400 per year for Class AA; and $16,800 per year for
                                                                   12   Class AAA.
                                                                   13          26.             Beyond the first year, the UPC required by MLB, and previously enforced by Mr.
                                                                   14   Selig, and now enforced by Mr. Manfred, purports to allow salary negotiation by the minor
                                                                   15   leaguer, as the UPC states that salaries will be set out in an addendum to the UPC and subject to
                                                                   16   negotiation.16 But the same UPC provision states that if the Franchise and minor leaguer do not
                                                                   17   agree on salary terms, the Franchise may unilaterally set the salary and the minor leaguer must
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                                                                   18   agree to it.17
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                                                                   19          27.             The UPC required by MLB, formerly enforced by Mr. Selig, and now, by Mr.
                                                                   20   Manfred, further states that salaries are only to be paid during the championship season, which
                                                                   21   lasts about five months out of the year.                          18
                                                                                                                                               Plaintiffs believe that most minor leaguers currently
                                                                   22   earn less than $16,000 per calendar year, and earned much less in prior years during the class
                                                                   23   15
                                                                          As the 2013 Miami Marlins Minor League Player Guide states, “all first-year players receive $1,100 per month
                                                                        regardless of playing level per the terms of the [UPC].”
                                                                   24
                                                                        16
                                                                             MLR Attachment 3, UPC ¶ VII.A.
                                                                   25
                                                                        17
                                                                             MLR Attachment 3, UPC ¶ VII.A.
                                                                   26
                                                                        18
                                                                          MLR Attachment 3, UPC ¶ VII.B. (“Obligation to make such payments to Player shall start with the beginning
                                                                   27   of Club’s championship playing season…[and] end with the termination of Club’s championship playing
                                                                        season….”).
                                                                   28
                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022         8
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 11 of 59


                                                                   1    period. Despite only being compensated during the approximately five-month championship
                                                                   2    season, MLB’s UPC “obligates minor leaguers to perform professional services on a calendar
                                                                   3    year basis, regardless of the fact that salary payments are to be made only during the actual
                                                                   4    championship playing season.”                     19
                                                                                                                               Consistent with that obligation, the UPC states that “Player
                                                                   5    therefore understands and agrees that Player’s duties and obligations under this Minor League
                                                                   6    Uniform Player Contract continue in full force throughout the calendar year.”
                                                                   7           28.             MLB’s UPC, and the Defendants’ application of the UPC, requires the minor
                                                                   8    leaguer to participate in spring training.20 Again, the UPC does not allow for salaries during this
                                                                   9    period since spring training falls outside the championship season, so minor leaguers work
                                                                   10   without earning a paycheck. The spring training season usually lasts around one month, during
                                                                   11   the month of March, but it sometimes lasts longer.
                                                                   12          29.             In sum, the Defendants, as formerly directed by Mr. Selig, and now, by Mr.
                                                                   13   Manfred, have conspired and agreed among themselves to eliminate competition for the
                                                                   14   acquisition and payment of minor league baseball players at non-competitive, below market
                                                                   15   value wages (wage fixing) in violation of federal antitrust laws. (15 U.S.C. §§1 and 2) They
                                                                   16   have also conspired to and have and do pay illegally low wages during the championship
                                                                   17   season, no overtime wages, and no wages for work performed outside the championship season
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                                    San Francisco, CA 94111




                                                                   18   in violation of the federal Fair Labor Standards Act (“FLSA”) 29 U.S.C. §§ 201 et seq. and
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                                                                   19   Puerto Rico’s minimum wage laws.
                                                                   20          30.             Defendants have conspired to and lobbied Congress to pass unconstitutional
                                                                   21   laws specifically targeting minor league players for unequal treatment, i.e., the Curt Flood Act
                                                                   22   15 U.S.C. §26b(b)(1), (2), specifically designed to discriminate against and deprive minor
                                                                   23   leaguers of their right to equal protection of the antitrust laws in violation of their strictly
                                                                   24   construed Fifth Amendment constitutional rights to equal protection of the federal antitrust
                                                                   25

                                                                   26
                                                                        19
                                                                             MLR Attachment 3, UPC ¶ VI.B.
                                                                   27
                                                                        20
                                                                             See MLR Attachment 3, UPC ¶ VI.B. (saying that the UPC applies to the “Club’s training season”).
                                                                   28
                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   9
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 12 of 59


                                                                   1    laws or, in the alternative, with no rational basis for doing so. The Curt Flood Act provides in
                                                                   2    pertinent part:
                                                                                                     This section does not create, permit, or
                                                                   3
                                                                                                     imply a cause of action by which to
                                                                   4                                 challenge under the antitrust laws . . .
                                                                                                     (1) any conduct, acts, practices,
                                                                   5                                 agreements . . . relating to . . .
                                                                                                     employment to play baseball at the
                                                                   6                                 minor league level . . .
                                                                   7

                                                                   8    Defendants have also coerced and misled Congress to pass the so-called Save America’s
                                                                   9    Pastime Act (29 U.S.C. §213(a)(19)) to discriminate against and deprive minor league players
                                                                   10   of their constitutional right to equal protection of federal fair labor and minimum wage laws.
                                                                   11
                                                                                                                                    II.     PARTIES
                                                                   12

                                                                   13              1.          Plaintiffs

                                                                   14              Plaintiff and class representative, Daniel Concepcion, is a former minor leaguer who
                                                                   15   was in the Kansas Royals’ organization from 2010 through 2012. Mr. Concepcion is a covered
                                                                   16
                                                                        employee under the FLSA and under the Puerto Rico wage and hour laws. Mr. Concepcion
                                                                   17
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                                                                        worked in and played minor league baseball for the Kansas Royals’ organization in Idaho,
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                                    San Francisco, CA 94111




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                                                                        North Carolina and Kentucky. He is a representative plaintiff on behalf of all current and
                                                                   19

                                                                   20   former minor leaguers from 2012 through final judgment or settlement in this case on their

                                                                   21   antitrust violation claims, the FLSA claims, their declaratory relief and equal protection

                                                                   22   claims.
                                                                   23
                                                                                   2.          Defendants
                                                                   24
                                                                               31.             The Office of the Commissioner of Baseball, d/b/a MLB. The Office of the
                                                                   25
                                                                        Commissioner of Baseball, doing business as MLB, is an unincorporated association comprised of
                                                                   26
                                                                        the thirty Major League baseball clubs (“the Franchises”). 21 MLB has unified operation and
                                                                   27

                                                                   28   21
                                                                             See Exhibit B, Major League Constitution (“MLC”), Art. II § 1.
                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   10
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 13 of 59


                                                                   1    common control over the Franchises. All do business as MLB.
                                                                   2
                                                                               32.             Under the broad meaning of “employ” used by the FLSA and the applicable state
                                                                   3
                                                                        laws, MLB employed (and/or continues to employ) Plaintiffs, all similarly situated employees, and
                                                                   4
                                                                        all employees of the proposed classes. As described more thoroughly below, the Defendants’ cartel
                                                                   5
                                                                        has developed a unified constitution and unified rules to closely control many fundamental aspects
                                                                   6
                                                                        of the minor leaguers’ employment, including, inter alia, hiring, contracts, wages, periods of wage
                                                                   7
                                                                        payment and nonpayment, other working conditions, and control over the minor leaguers before,
                                                                   8
                                                                        during, and after the championship season.
                                                                   9
                                                                   10          33.             Allan Huber “Bud” Selig. Since 1998, Allan Huber “Bud” Selig served as the

                                                                   11   Commissioner of Baseball. He committed some of the FLSA and federal anti-trust violations

                                                                   12   alleged herein.

                                                                   13          34.             On August 14, 2014, Robert D. Manfred, Jr. took over as Commissioner of
                                                                   14   Baseball and continued to this day the FLSA and federal anti-trust violations alleged herein.
                                                                   15
                                                                               35.             The Commissioner is the “Chief Executive Officer of Major League Baseball.” 22
                                                                   16
                                                                        Serving in this capacity, Mr. Selig had, and Mr. Manfred continues to exercise the power to, among
                                                                   17
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                                                                        other things, discipline players, announce rules and procedures, preside over meetings, 23 and
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                                    San Francisco, CA 94111




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                                                                        suppress wages at below market, non-competitive levels for minor leaguers.
                                                                   19

                                                                   20          36.             Mr. Selig had, and Mr. Manfred now also has “executive responsibility for labor

                                                                   21   relations,” 24 meaning that Mr. Selig was, and Mr. Manfred now is the chief bargaining agent for

                                                                   22   the owners during negotiations with the major league union.

                                                                   23          37.             Since Mr. Selig oversaw and Mr. Manfred now oversees all labor matters, Mr. Selig
                                                                   24

                                                                   25
                                                                        22
                                                                             MLC Art. II § 2.
                                                                   26
                                                                        23
                                                                             MLC Art. II §§ 2, 3.
                                                                   27
                                                                        24
                                                                             MLC Art. II § 2.
                                                                   28
                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   11
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 14 of 59


                                                                   1    was, and Mr. Manfred now is also (collectively they were and now are) the chief agent for the
                                                                   2    owners when it comes to forming labor practices involving minor leaguers. Moreover, Mr. Selig
                                                                   3    did, and Mr. Manfred now implements, enforces, and often directs the development of MLB’s
                                                                   4    rules, guidelines, and policies concerning the employment of minor league players.
                                                                   5
                                                                               38.             Mr. Selig did, and Mr. Manfred now serves as MLB’s agent in numerous other
                                                                   6
                                                                        areas. For instance, Mr. Selig serves as “the fiscal agent of the Major League Central Fund”; has the
                                                                   7
                                                                        power to “negotiate and enter into settlement agreements” for nationwide broadcasting rights; can
                                                                   8
                                                                        receive funds “made payable to the Commissioner as agent for the Clubs”; and can even invest
                                                                   9
                                                                        central funds on behalf of the Defendants. 25
                                                                   10

                                                                   11          39.             The MLB owners elect the Commissioner of Baseball by a vote. 26 They also pay

                                                                   12   the Commissioner’s salary. 27

                                                                   13          40.             Under the broad meaning of “employ” and “employer” used by the FLSA and
                                                                   14   applicable state laws, Mr. Selig and Mr. Manfred, as the chief executive, can be and in this case is,
                                                                   15   jointly and severally liable, along with the MLB defendants, for their violations of FLSA, Puerto
                                                                   16   Rico’s and applicable state labor laws and federal anti-trust violations. The Commissioner oversees
                                                                   17   and closely controls many aspects central to the minor leaguers’ employment, including, inter alia,
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                                  155 Jackson Street, Suite 1807
                                    San Francisco, CA 94111




                                                                   18   hiring, contract terms, discipline, and firing, setting the amount of wages, on-field work rules, and
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                                                                   19   when wages are to be paid. 28
                                                                   20
                                                                        25
                                                                   21    MLC Art. X; see also MLR 30 (saying that all funds in the hands of the Commissioner are joint funds of the
                                                                        MLB Clubs).
                                                                   22   26
                                                                             MLC Art. II §§ 8, 9.
                                                                   23   27
                                                                             MLC Art. II § 8.
                                                                   24   28
                                                                           See MLR Attachment 3, Minor League Uniform Player Contract (“UPC”) ¶¶ VI (describing the conditions of
                                                                        employment), VII (payment of salaries), XXIII (granting Commissioner right to suspend the contract), XXVI
                                                                   25   (requiring approval by the Commissioner for the contract to have effect); see also, e.g., Addendum C to MLR
                                                                        Attachment 3 (salary form requiring approval by the Commissioner); MLR 4 (giving Commissioner power to
                                                                   26   oversee the amateur draft, one of the chief avenues of hiring players); MLR 13 (giving Commissioner the power to
                                                                        suspend players); MLR 3(e) (requiring all contracts to be approved by the Commissioner); MLR 14 (giving
                                                                   27   Commissioner the power to accept or deny an application for retirement); MLR 15 (giving Commissioner power
                                                                        to place players on an Ineligible List for misconduct, or to take any other disciplinary action in the best interest of
                                                                   28   baseball).
                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   12
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 15 of 59


                                                                   1          41.              Upon information and belief, the Commissioner also had and has direct
                                                                   2    involvement in the formation of programs affecting working conditions for minor leaguers, such as
                                                                   3    the implementation of a system to suppress signing bonuses for minor leaguers entering MLB’s
                                                                   4    developmental system for the first time.
                                                                   5
                                                                              42.              Franchise Defendants. The below named MLB franchises are defendants in this
                                                                   6
                                                                        lawsuit and referred to collectively as the “Franchise Defendants”:
                                                                   7

                                                                   8          43.              Kansas City Royals. Kansas City Royals Baseball Corp. (d/b/a “Kansas City

                                                                   9    Royals”) is an MLB Franchise. As a member of Major League Baseball, acting jointly and on its

                                                                   10   own behalf, the Kansas City Royals employed (and/or continue to employ) Plaintiffs, similarly

                                                                   11   situated employees, and employees of the Proposed Classes.

                                                                   12         44.              Miami Marlins. Miami Marlins, L.P. (d/b/a “Miami Marlins”) is an MLB Franchise.
                                                                   13   As a member of Major League Baseball, acting jointly and on its own behalf, the Miami Marlins
                                                                   14   employed (and/or continue to employ) Plaintiffs, similarly situated employees, and employees of
                                                                   15   the Proposed Classes. The Miami Marlins were known and operated as the Florida Marlins until
                                                                   16   changing its name in 2012. Plaintiffs are informed and believe that the Miami Marlins is the
                                                                   17
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                                                                        successor in interest to the Florida Marlins franchise.
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                                    San Francisco, CA 94111




                                                                   18
                                                                                               San Francisco Giants. San Francisco Baseball Associates LLC (d/b/a “San
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                                                                              45.
                                                                   19
                                                                        Francisco Giants”) is an MLB Franchise. As a member of Major League Baseball, acting jointly
                                                                   20
                                                                        and on its own behalf, the San Francisco Giants employed (and/or continue to employ) Plaintiffs,
                                                                   21
                                                                        similarly situated employees, and employees of the Proposed Classes.
                                                                   22

                                                                   23         46.              Boston Red Sox. Boston Red Sox Baseball Club L.P. (d/b/a “Boston Red Sox”) is an

                                                                   24   MLB Franchise. As a member of Major League Baseball, acting jointly and on its own behalf, the

                                                                   25   Red Sox of baseball).employed (and/or continue to employ) Plaintiffs, similarly situated

                                                                   26   employees, and/or employees of the Proposed Classes.

                                                                   27

                                                                   28
                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   13
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 16 of 59


                                                                   1          47.              Toronto Blue Jays. Rogers Blue Jays Baseball Partnership (d/b/a “Toronto Blue
                                                                   2    Jays”) is an MLB Franchise. As a member of Major League Baseball, acting jointly and on its own
                                                                   3    behalf, the Toronto Blue Jays employed (and/or continue to employ) Plaintiffs, similarly situated
                                                                   4    employees, and employees of the Proposed Classes.
                                                                   5
                                                                              48.              Chicago White Sox. Chicago White Sox Ltd. (d/b/a “Chicago White Sox”) is an
                                                                   6
                                                                        MLB Franchise. As a member of Major League Baseball, acting jointly and on its own behalf, the
                                                                   7
                                                                        Chicago White Sox employed (and/or continue to employ) Plaintiffs, similarly situated employees,
                                                                   8
                                                                        and employees of the Proposed Classes.
                                                                   9
                                                                   10         49.              Cleveland Indians. Cleveland Indians Baseball Co., L.P., and Cleveland Indians

                                                                   11   Baseball Co, Inc., (d/b/a “Cleveland Indians”) is an MLB Franchise. As a member of Major League

                                                                   12   Baseball, acting jointly and on its own behalf, the Cleveland Indians employed (and/or continue to

                                                                   13   employ) Plaintiffs, similarly situated employees, and employees of the Proposed Classes.

                                                                   14         50.              Houston Astros. Houston Baseball Partners LLC (d/b/a “Houston Astros”) is an
                                                                   15   MLB Franchise. As a member of Major League Baseball, acting jointly and on its own behalf, the
                                                                   16   Houston Astros employed (and/or continue to employ) Plaintiffs, similarly situated employees, and
                                                                   17
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                                                                        employees of the Proposed Classes.
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                                    San Francisco, CA 94111




                                                                   18
                                                                                               Los Angeles Angels of Anaheim. Angels Baseball LP (d/b/a “Los Angeles Angels of
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                                                                              51.
                                                                   19
                                                                        Anaheim”) is an MLB Franchise. As a member of Major League Baseball, acting jointly and on its
                                                                   20
                                                                        own behalf, the Los Angeles Angels of Anaheim employed (and/or continue to employ) Plaintiffs,
                                                                   21
                                                                        similarly situated employees, and employees of the Proposed Classes.
                                                                   22

                                                                   23         52.              Oakland Athletics. Athletics Investment Group, LLC (d/b/a “Oakland Athletics”) is

                                                                   24   an MLB Franchise. As a member of Major League Baseball, acting jointly and on its own behalf,

                                                                   25   the Oakland Athletics employed (and/or continue to employ) Plaintiffs, similarly situated

                                                                   26   employees, and employees of the Proposed Classes.

                                                                   27         53.              Seattle Mariners. Baseball Club of Seattle, LLP (d/b/a “Seattle Mariners”) is an
                                                                   28
                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   14
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 17 of 59


                                                                   1    MLB Franchise. As a member of Major League Baseball, acting jointly and on its own behalf, the
                                                                   2    Seattle Mariners employed (and/or continue to employ) Plaintiffs, similarly situated employees, and
                                                                   3    employees of the Proposed Classes.
                                                                   4
                                                                              54.              Cincinnati Reds. The Cincinnati Reds, LLC (d/b/a “Cincinnati Reds”) is an MLB
                                                                   5
                                                                        Franchise. As a member of Major League Baseball, acting jointly and on its own behalf, the
                                                                   6
                                                                        Cincinnati Reds employed (and/or continue to employ) Plaintiffs, similarly situated employees, and
                                                                   7
                                                                        employees of the Proposed Classes.
                                                                   8

                                                                   9          55.              St. Louis Cardinals. St. Louis Cardinals, LLC (d/b/a “St. Louis Cardinals”) is an

                                                                   10   MLB Franchise. As a member of Major League Baseball, acting jointly and on its own behalf, the

                                                                   11   St. Louis Cardinals employed (and/or continue to employ) Plaintiffs, similarly situated employees,

                                                                   12   and employees of the Proposed Classes.

                                                                   13         56.              Colorado Rockies. Colorado Rockies Baseball Club, Ltd. (d/b/a “Colorado
                                                                   14   Rockies”) is an MLB Franchise. As a member of Major League Baseball, acting jointly and on its
                                                                   15   own behalf, the Colorado Rockies employed (and/or continue to employ) Plaintiffs, similarly
                                                                   16   situated employees, and employees of the Proposed Classes.
                                                                   17
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                                                                              57.              San Diego Padres. Padres L.P., and the San Diego Padres Baseball Club, L.P. (d/b/a
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                                    San Francisco, CA 94111




                                                                   18
                                                                        “San Diego Padres”) is an MLB Franchise. As a member of Major League Baseball, acting jointly
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                                                                   19
                                                                        and on its own behalf, the San Diego Padres employed (and/or continue to employ) Plaintiffs,
                                                                   20
                                                                        similarly situated employees, and employees of the Proposed Classes.
                                                                   21

                                                                   22         58.              Minnesota Twins. Minnesota Twins, LLC (d/b/a “Minnesota Twins”) is an MLB

                                                                   23   Franchise. As a member of Major League Baseball, acting jointly and on its own behalf, the

                                                                   24   Minnesota Twins employed (and/or continue to employ) Plaintiffs, similarly situated employees,

                                                                   25   and employees of the Proposed Classes.

                                                                   26         59.              Washington Nationals. Washington Nationals Baseball Club, LLC (d/b/a
                                                                   27   “Washington Nationals”) is an MLB Franchise. As a member of Major League Baseball, acting
                                                                   28
                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   15
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 18 of 59


                                                                   1    jointly and on its own behalf, the Washington Nationals employed (and/or continue to employ)
                                                                   2    Plaintiffs, similarly situated employees, and employees of the Proposed Classes.
                                                                   3
                                                                              60.              Detroit Tigers. Detroit Tigers, Inc. (d/b/a “Detroit Tigers”) is an MLB Franchise.
                                                                   4
                                                                        As a member of Major League Baseball, acting jointly and on its own behalf, the Detroit Tigers
                                                                   5
                                                                        employed (and/or continue to employ) Plaintiffs, similarly situated employees, and employees of
                                                                   6
                                                                        the Proposed Classes.
                                                                   7

                                                                   8          61.              Los Angeles Dodgers. Los Angeles Dodgers, LLC, and Los Angeles Dodgers

                                                                   9    Holding Co., (d/b/a “Los Angeles Dodgers”) is an MLB Franchise. As a member of Major League

                                                                   10   Baseball, acting jointly and on its own behalf, the Los Angeles Dodgers employed (and/or continue

                                                                   11   to employ) Plaintiffs, similarly situated employees, and employees of the Proposed Classes.

                                                                   12         62.              New York Mets. Sterling Mets L.P. (d/b/a “New York Mets”) is an MLB Franchise.
                                                                   13   As a member of Major League Baseball, acting jointly and on its own behalf, the New York Mets
                                                                   14   employed (and/or continue to employ) Plaintiffs, similarly situated employees, and employees of
                                                                   15   the Proposed Classes.
                                                                   16
                                                                              63.              Atlanta Braves. Atlanta National League Baseball Club, Inc. (d/b/a “Atlanta
                                                                   17
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                                                                        Braves”) is an MLB Franchise. As a member of Major League Baseball, acting jointly and on its
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                                    San Francisco, CA 94111




                                                                   18
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                                                                        own behalf, the Atlanta Braves employed (and/or continue to employ) Plaintiffs, similarly situated
                                                                   19
                                                                        employees, and employees of the Proposed Classes.
                                                                   20

                                                                   21         64.              Arizona Diamondbacks. AZPB L.P. (d/b/a “Arizona Diamondbacks”) is an MLB

                                                                   22   Franchise. As a member of Major League Baseball, acting jointly and on its own behalf, the

                                                                   23   Arizona Diamondbacks employed (and/or continue to employ) Plaintiffs, similarly situated

                                                                   24   employees, and employees of the Proposed Classes.

                                                                   25         65.              Baltimore Orioles. Baltimore Orioles, Inc., and Baltimore Orioles, L.P., (d/b/a
                                                                   26   “Baltimore Orioles”) is an MLB Franchise. As a member of Major League Baseball, acting jointly
                                                                   27   and on its own behalf, the Baltimore Orioles employed (and/or continue to employ) Plaintiffs,
                                                                   28
                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   16
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 19 of 59


                                                                   1    similarly situated employees, and employees of the Proposed Classes.
                                                                   2
                                                                              66.              Philadelphia Phillies. The Phillies L.P. (d/b/a “Philadelphia Phillies”) is an MLB
                                                                   3
                                                                        Franchise. As a member of Major League Baseball, acting jointly and on its own behalf, the
                                                                   4
                                                                        Philadelphia Phillies employed (and/or continue to employ) Plaintiffs, similarly situated employees,
                                                                   5
                                                                        and employees of the Proposed Classes.
                                                                   6

                                                                   7          67.              Pittsburgh Pirates. Pittsburgh Baseball, Inc., and Pittsburgh Baseball P’ship, (d/b/a

                                                                   8    “Pittsburgh Pirates”) is an MLB Franchise. As a member of Major League Baseball, acting jointly

                                                                   9    and on its own behalf, the Pittsburgh Pirates employed (and/or continue to employ) Plaintiffs,

                                                                   10   similarly situated employees, and employees of the Proposed Classes.

                                                                   11         68.              New York Yankees. New York Yankees Partnership (d/b/a “New York Yankees”) is
                                                                   12   an MLB Franchise. As a member of Major League Baseball, acting jointly and on its own behalf,
                                                                   13   the New York Yankees employed (and/or continue to employ) Plaintiffs, similarly situated
                                                                   14   employees, and employees of the Proposed Classes.
                                                                   15
                                                                              69.              Tampa Bay Rays. Tampa Bay Rays Baseball Ltd. (d/b/a “Tampa Bay Rays”) is an
                                                                   16
                                                                        MLB Franchise. As a member of Major League Baseball, acting jointly and on its own behalf, the
                                                                   17
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                                                                        Tampa Bay Rays employed (and/or continue to employ) Plaintiffs, similarly situated employees,
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                                    San Francisco, CA 94111




                                                                   18
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                                                                        and employees of the Proposed Classes.
                                                                   19

                                                                   20         70.              Chicago Cubs. Chicago Baseball Holdings, LLC (d/b/a “Chicago Cubs”) is an MLB

                                                                   21   Franchise. As a member of Major League Baseball, acting jointly and on its own behalf, the

                                                                   22   Chicago Cubs employed (and/or continue to employ) Plaintiffs, similarly situated employees, and

                                                                   23   employees of the Proposed Classes.

                                                                   24         71.              Milwaukee Brewers. Milwaukee Brewers Baseball Club, Inc., and Milwaukee
                                                                   25   Brewers Baseball Club, L.P., (d/b/a “Milwaukee Brewers”) is an MLB Franchise. As a member of
                                                                   26   Major League Baseball, acting jointly and on its own behalf, the Milwaukee Brewers employed
                                                                   27   (and/or continue to employ) Plaintiffs, similarly situated employees, and employees of the Proposed
                                                                   28
                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   17
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 20 of 59


                                                                   1    Classes.
                                                                   2
                                                                              72.              Texas Rangers. Rangers Baseball Express, LLC, and Rangers Baseball, LLC, (d/b/a
                                                                   3
                                                                        “Texas Rangers”) is an MLB Franchise. As a member of Major League Baseball, acting jointly and
                                                                   4
                                                                        on its own behalf, the Texas Rangers employed (and/or continue to employ) Plaintiffs, similarly
                                                                   5
                                                                        situated employees, and employees of the Proposed Classes.
                                                                   6

                                                                   7                                           III.        CLASS ACTION ALLEGATIONS

                                                                   8          73.              Plaintiff brings the Puerto Rico labor law class action claims, Counts 8 and 9, as
                                                                   9    class actions under Rule 23(a) and Rule 23(b)(1), 23(b)(2) and 23(b)(3) of the Federal Rules of
                                                                   10   Civil Procedure, on behalf of himself and all others similarly situated. The Puerto Rico class is
                                                                   11   as follows:
                                                                   12         74.              Puerto Rico Class. For Counts 8 and 9 (violations of Puerto Rico’s wage and
                                                                   13   labor laws), the Puerto Rico Class is defined as follows: all minor leaguers who were, at all
                                                                   14   applicable times, citizens and residents of Puerto Rico and were employed by Defendants under
                                                                   15   uniform player contracts (“UPC”) who worked, will work, and/or continue to work as minor
                                                                   16   leaguers and signed UPC contracts in and/or were paid in Puerto Rico for any MLB minor
                                                                   17   league team and performed work for such team, at any time between January 1, 2012 and the
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                                  155 Jackson Street, Suite 1807
                                    San Francisco, CA 94111




                                                                   18   final resolution of this action. Excluded from the Puerto Rico Class are Defendants and their
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                                                                   19   officers, directors, assigns, and successors, or any individual who has, or who at any time
                                                                   20   during the class period has had, a controlling interest in Defendants. Also excluded are the
                                                                   21   Court and any members of the Court’s immediate family, counsel for plaintiffs, as well as
                                                                   22   persons who submit timely and proper requests for exclusion from the Puerto Rico Class.
                                                                   23
                                                                                                                    IV.         FACTUAL ALLEGATIONS
                                                                   24
                                                                                                                   Count 1: Federal Antitrust Violations
                                                                   25

                                                                   26
                                                                              75.              Plaintiffs re-allege and incorporate by reference as though fully set forth herein
                                                                   27
                                                                        Paragraphs 1-74 above.
                                                                   28
                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   18
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 21 of 59


                                                                   1          76.              This federal antitrust class action is brought by Plaintiffs, minor league baseball
                                                                   2    players (“minor leaguers”), on behalf of themselves and the class of minor leaguers they
                                                                   3    represent, against all of the above-named defendants, the cartel of 30 major league baseball
                                                                   4    clubs and the Commissioner of Major League Baseball (collectively “MLB”), for violations of
                                                                   5    the Sherman Act and Clayton Act (“federal antitrust laws”).
                                                                   6
                                                                               I.          NATURE AND BACKGROUND OF FEDERAL ANTI-TRUST CLAIMS
                                                                   7

                                                                   8          77.              The Defendants are either members of or govern the monopsony cartel known as
                                                                   9    Major League Baseball (“MLB”).
                                                                   10         78.              MLB openly colludes on the working conditions for the development of its chief
                                                                   11   commodity: minor league professional baseball players (“minor leaguers”). MLB routinely
                                                                   12   colludes to violate federal antitrust laws.
                                                                   13         79.              In order to monopolize minor leaguers, restrain and depress minor league
                                                                   14   players’ salaries, the MLB cartel inserted a provision (known as the reserve clause) into
                                                                   15   players’ contracts that allows teams to retain for seven (7) years the contractual rights to
                                                                   16   players and restrict their ability to negotiate with other teams for their baseball services, which
                                                                   17
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                                                                        reserve clause preserves MLB’s minor league system of artificially low salaries and nonexistent
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                                    San Francisco, CA 94111




                                                                   18   contractual mobility.
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                                                                   19         80.              Unlike major leaguers, minor leaguers have no union or collective bargaining
                                                                   20   agreement, even though they comprise the overwhelming majority of baseball players
                                                                   21   employed by the Defendants. The Major League Baseball Players’ Association (“MLBPA”)
                                                                   22   does not represent the interests of minor leaguers.
                                                                   23         81.              Efforts to unionize minor leaguers have been unsuccessful because minor
                                                                   24   leaguers fear retaliation by the Defendants. Minor leaguers are afraid to challenge the MLB-
                                                                   25   imposed wage system, for fear it would jeopardize their careers and potential to become major
                                                                   26   leaguers if they challenged the system.
                                                                   27

                                                                   28
                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   19
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 22 of 59


                                                                   1          82.              Minor leaguers are powerless to combat the collusive power of the MLB cartel.
                                                                   2    MLB continues to actively and openly collude on many aspects of minor leaguers’ working
                                                                   3    conditions, including, but not limited to, wages, contract terms, and their ability to work for and
                                                                   4    negotiate with other teams.
                                                                   5          83.              The federal antitrust laws were enacted to protect competition and prevent
                                                                   6    conspiracies to restrain competition, including competition for employment, group boycotts,
                                                                   7    and monopolization.
                                                                   8          84.              Through their collective exercise of monopsony power and restraint of trade in
                                                                   9    the minor league professional baseball player market, Defendants have eliminated competition
                                                                   10   and suppressed minor leaguers’ compensation, in violation of sections 1 and 2 of the Sherman
                                                                   11   Act, 15 U.S.C. §§ 1 and 2. Most minor leaguers earn less than $12,000 for the entire year,
                                                                   12   despite routinely working between 50 and 70 hours per week during the roughly five-month
                                                                   13   championship season. They receive no overtime pay, and instead, routinely receive less than
                                                                   14   minimum wage during the championship season.
                                                                   15         85.              The Defendants have conspired to pay no wages at all for significant periods of
                                                                   16   minor leaguers’ work. The Defendants do not pay minor leaguers their salaries during spring
                                                                   17   training, even though the Defendants require minor leaguers to often work over fifty hours per
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                                                                   18   week during spring training. Similarly, the Defendants do not pay salaries during other training
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                                                                   19   periods such as instructional leagues and winter training. 29
                                                                   20         86.              This suit seeks to recoup the damages sustained by minor leaguers as a result of
                                                                   21   MLB’s violations of the antitrust laws, 15 U.S.C. §§ 1, 2, and 15. It seeks to recover damages
                                                                   22   through a class action on behalf of minor league professional baseball players to recover treble
                                                                   23   the shortfall in underpaid compensation they should have received absent Defendants’ antitrust
                                                                   24   violations.
                                                                   25

                                                                   26
                                                                   27   29
                                                                          See Exhibit A attached hereto and incorporated herein, Major League Rules (“MLR”) Attachment 3, UPC ¶ VII,
                                                                        B; ¶ VI, B.
                                                                   28
                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   20
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 23 of 59


                                                                   1          87.              This suit also seeks to enjoin Defendants from continuing their antitrust
                                                                   2    violations.
                                                                   3

                                                                   4                               III.        ANTITRUST CLASS ACTION ALLEGATIONS
                                                                   5          88.              Plaintiffs bring their antitrust claims as a class action under Rule 23(a) and Rule
                                                                   6    23(b)(1), (b)(2), and (b)(3) of the Federal Rules of Civil Procedure, on behalf of themselves and
                                                                   7    all other minor league professional baseball players similarly situated. The class is defined as
                                                                   8    follows:
                                                                   9               All minor leaguers employed by Defendants under uniform player contracts
                                                                   10              (“UPC”) who worked, will work, and/or continues to work as minor leaguers for
                                                                   11              any minor league team affiliated with a Franchise Defendant at any time between
                                                                   12              January 1, 2012 and the final resolution of this action. Excluded from the Class
                                                                   13              are Defendants and their officers, directors, assigns, and successors, or any
                                                                   14              individual who has, or who at any time during the class period has had, a
                                                                   15              controlling interest in Defendants. Also excluded are the Court and any members
                                                                   16              of the Court’s immediate family, counsel for plaintiffs, as well as persons who
                                                                   17              submit timely and proper requests for exclusion from the Class.
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                                                                   18         89.              The Class Representative is Daniel Concepcion.
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                                                                   19         90.              The Proposed Class, consisting of thousands of similarly situated,
                                                                   20   geographically dispersed minor leaguers, is so numerous that it makes joinder of all members
                                                                   21   impracticable. While the exact number of Class members is unknown to Plaintiffs at this time,
                                                                   22   Plaintiffs are informed and believe that it is in the thousands.
                                                                   23         91.              Plaintiff’s claims are typical of the claims of the other members of the Class.
                                                                   24   Plaintiff and the members of the Class were and are subject to the same or similar artificially
                                                                   25   depressed compensation practices arising out of Defendants’ conspiracy to restrain competition
                                                                   26   and depress compensation paid to minor league players, in violation of the federal antitrust
                                                                   27   laws as alleged herein. Plaintiff and the Class have sustained similar types of damages, i.e.,
                                                                   28
                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   21
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 24 of 59


                                                                   1    reduced compensation, as a result of Defendants’ antitrust violations.
                                                                   2          92.              Plaintiff will fairly and adequately protect the interests of all members of the
                                                                   3    Class because they possess the same interests and suffered the same types of damages
                                                                   4    (depressed compensation) as the other class members. Plaintiff has retained counsel competent
                                                                   5    and experienced in class action litigation, including antitrust litigation.
                                                                   6          93.              Common questions of law and fact exist as to all members of the Class and
                                                                   7    predominate over any questions affecting only individual members of the Class, including:
                                                                   8               (a) whether Defendants conspired or agreed to force all minor league players to sign
                                                                   9               uniform player contracts with uniform wage fixed compensation which assigned them
                                                                   10              to one major league franchise for seven (7) years and prevented them from negotiating
                                                                   11              or contracting with other competing franchises for competitive, non-wage-fixed
                                                                   12              compensation for their baseball services, in violation of 15 U.S.C. §§1 and 2;
                                                                   13
                                                                                   (b) whether Defendants’ imposition of the so called “reserve clause”, which prevents
                                                                   14
                                                                                   minor league baseball players from negotiating or contracting with other teams for their
                                                                   15
                                                                                   services is a violation of 15 U.S.C. § 1 and/or 2;
                                                                   16

                                                                   17              (c) whether Defendants conspired to require all minor leaguers to sign the same UPC,
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                                                                                   which controls and depresses minor leaguers’ pay in violation of the antitrust laws;
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                                                                   19
                                                                                   (d) whether the minor leaguers were damaged in the form of lower compensation by
                                                                   20
                                                                                   Defendants’ antitrust violations;
                                                                   21

                                                                   22              (e) whether Defendants have colluded, conspired, agreed and/or acted or refused to act

                                                                   23              on grounds generally applicable to the Class, thereby making final injunctive or

                                                                   24              declaratory relief appropriate with respect to the Class as a whole;

                                                                   25              (f) whether the nearly hundred-year-old, so-called court-created antitrust “baseball
                                                                   26              exemption” is unconstitutional as a violation of minor leaguers’ constitutional right to
                                                                   27              equal protection of the laws as applied to the reserve clause applied against minor
                                                                   28
                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   22
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 25 of 59


                                                                   1               league players and, if it is, whether it should be overturned based on changed
                                                                   2               circumstances, including, but not limited to, no collective bargaining for minor
                                                                   3               leaguers;
                                                                   4
                                                                                   (g) whether the Sherman Act 15 U.S.C. §§1 and 2 and the Clayton Act 15 U.S.C. §§15
                                                                   5
                                                                                   and 26, in purportedly not being applicable to MLB’s monopolistic and restraint of
                                                                   6
                                                                                   trade actions against minor leaguers, are unconstitutional as violative of the minor
                                                                   7
                                                                                   leaguers’ right to equal protection of the laws; and
                                                                   8
                                                                                   (h) whether the so-called Curt Flood Act 15 U.S.C. §26b is unconstitutional, as
                                                                   9
                                                                                   violating minor leaguers’ constitutional right to equal protection of the laws, by
                                                                   10
                                                                                   purporting to exempt Defendants from liability for violating minor leaguers’ rights
                                                                   11
                                                                                   under the federal anti-trust laws.
                                                                   12

                                                                   13
                                                                              94.              A class action is superior to other available methods for the fair and efficient
                                                                   14
                                                                        adjudication of this controversy because joinder of all members of the Class is impracticable.
                                                                   15
                                                                        The prosecution of separate actions by individual members of the Class would impose heavy
                                                                   16
                                                                        burdens on the courts and the parties and would create a risk of inconsistent or varying
                                                                   17
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                                                                        adjudications of the questions of law and fact common to the Class. A class action would
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                                                                        achieve substantial economies of time, effort, and expense in adjudicating these common
                                                                   19
                                                                        claims and issues, and would assure uniformity of decision as to persons similarly situated,
                                                                   20
                                                                        without sacrificing procedural fairness.
                                                                   21
                                                                              95.              The interest of members of the Class in individually controlling the prosecution
                                                                   22
                                                                        of separate actions is impractical. The Class has a high degree of cohesion and prosecution of
                                                                   23
                                                                        the action as a representative class action would be unobjectionable. The amounts at stake for
                                                                   24
                                                                        Class members, while substantial in the aggregate, are not large enough individually to make it
                                                                   25
                                                                        practical to Class members to prosecute their claims individually. As individuals, the class
                                                                   26
                                                                        members would lack the resources to vigorously litigate against the ample and powerful
                                                                   27
                                                                        resources of the Defendants’ cartel. Also, many of the Class members are current minor league
                                                                   28
                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   23
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 26 of 59


                                                                   1    players and would not bring an individual action out of fear of retaliation. There would not be
                                                                   2    any difficulty in the management of this action as a class action. The members of the Class are
                                                                   3    employed by and known to Defendants. The Class members are readily identifiable and can be
                                                                   4    located through Defendants’ own records.
                                                                   5        96.           This Court has subject-matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and
                                                                   6    1337 because Plaintiffs' claims arise under laws of the U.S. that regulate commerce and protect
                                                                   7    commerce against restraints and monopolies: Section 4 of the Clayton Act (15 U.S.C. §
                                                                   8    15), Section 4 of the Sherman Act (15 U.S.C. § 4), Section 16 of the Clayton Act (15U.S.C.
                                                                   9    § 26), and Section 1 of the Sherman Act (15 U.S.C. § 1).
                                                                   10       97.           This Court has in personam jurisdiction over MLB and each of the 30
                                                                   11   defendants because it/they transact(s) substantial business in this District; engaged in antitrust
                                                                   12   violations in substantial part in this District; and it and they have entered into and engaged in a
                                                                   13   conspiracy and exercised their monopsony power that is intended to have, and has had, an
                                                                   14   anticompetitive effect on commerce in this District.
                                                                   15       98.           This Court additionally has in personam jurisdiction over MLB because it
                                                                   16   receives income and services from the Class in this District.
                                                                   17       99.           Venue is proper in this Court pursuant to Section 12 of the Clayton Act (15
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                                                                   18   U.S.C. § 22) and 28 U.S.C. §§ 1391(b), (c) and (d), because MLB is subject to this Court's
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                                                                   19   personal jurisdiction with respect to this action, a substantial part of the events giving rise to
                                                                   20   Plaintiff’s and the Class’s claims occurred in this District, and Plaintiffs and the Class have
                                                                   21   suffered and will continue to suffer harm in this District as a result of the MLB conspiracy
                                                                   22   averred herein.
                                                                   23
                                                                                                       V.      FACTUAL ALLEGATIONS
                                                                   24

                                                                   25
                                                                               II. The Business of MLB
                                                                   26
                                                                   27      100.           MLB is big business. Its games are broadcast throughout the United States.

                                                                   28   During the 2019 season, over 68.5 million fans paid to attend MLB games. MLB revenues
                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022 24
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 27 of 59


                                                                   1    exceeded $12.4 Billion, and the average value of an MLB team exceeded $2 Billion. MLB
                                                                   2    national television revenues were $1.84 Billion and local television revenues were $2.1 Billion.
                                                                   3
                                                                            101.               The baseball players employed by the Defendants account for much of this rise
                                                                   4
                                                                        in revenue, as they comprise the chief product offered by MLB and its teams. Without baseball
                                                                   5
                                                                        players, MLB and its teams would not exist. Yet MLB and its Franchises pay most players –
                                                                   6
                                                                        the minor leaguers – depressed compensation through the use of forced UPCs and the reserve
                                                                   7
                                                                        clause which restricts competition by preventing minor leaguers from fairly negotiating to
                                                                   8
                                                                        receive higher compensation. Defendants have recently sought to increase their monopsony
                                                                   9
                                                                        power and further depress minor leaguers’ compensation by eliminating a number of minor
                                                                   10
                                                                        league teams.
                                                                   11
                                                                                   III. Minor Leaguers’ Uniform, Adhesive Contracts
                                                                   12
                                                                            102.               Since the 1920s, all MLB teams have used an extensive “farm system” to
                                                                   13
                                                                        develop players. MLB teams employ a small number of major leaguers that perform in MLB
                                                                   14
                                                                        stadiums at the game’s highest level. MLB Rules allow Franchises to only maintain 25 major
                                                                   15
                                                                        leaguers on an “active roster” and a few additional players reserved on the “40-man” roster. A
                                                                   16
                                                                        few more players are inevitably on the major league disabled list, so each Franchise employs a
                                                                   17
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                                                                        little over 40 major leaguers.
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                                                                   18
                                                                            103.               But each Franchise simultaneously stockpiles around 150 to 250 minor leaguers
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                                                                   19
                                                                        that perform at the minor league levels of baseball. It is estimated that, at any given time, the
                                                                   20
                                                                        Defendants collectively employ around 6,000 minor leaguers total. The Defendants employ
                                                                   21
                                                                        this high number of minor leaguers in their farm systems, hoping some will eventually develop
                                                                   22
                                                                        into major leaguers.
                                                                   23
                                                                            104.               Minor leaguers have no union. Without a union to counteract Defendants’
                                                                   24
                                                                        power, Defendants have exploited minor leaguers by, among other things, continuing to
                                                                   25
                                                                        promulgate and impose oppressive rules on minor leaguers’ entry into the industry, by
                                                                   26
                                                                        restriction of their movement to other teams, by conspiring and agreeing to fix the
                                                                   27
                                                                        compensation they pay the Class at anti-competitive, depressed amounts, and by conspiring to
                                                                   28
                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   25
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 28 of 59


                                                                   1    reduce the number of minor league teams and consequently, the number of ballplayers the
                                                                   2    teams will employ.
                                                                   3          105.             The MLB teams acquire minor leaguers in one of two ways: through an amateur
                                                                   4    draft or through free agency.
                                                                   5          106.             The amateur draft, known as MLB’s Rule 4 draft,30 occurs in June of each year.
                                                                   6    In 1965, Commissioner Ford Frick oversaw the development and implementation of what is
                                                                   7    now the Rule 4 draft. By forcing amateur players to participate in the draft, MLB and its
                                                                   8    Commissioner limited those players seeking to enter MLB’s developmental system to only
                                                                   9    negotiating with a single team. Thus, signing bonuses declined.31
                                                                   10         107.             Upon information and belief, Bud Selig sought to, and Mr. Manfred has
                                                                   11   continued to further curb signing bonuses for draftees. Acting in his capacity as chief labor
                                                                   12   agent,32 he directed the development and implementation of an informal “slotting” system with
                                                                   13   recommended signing bonuses for each high-level pick. To enforce the mechanism, Mr. Selig
                                                                   14   required, and Mr. Manfred has continued to require a Franchise’s scouting director to call the
                                                                   15   Commissioner’s office prior to exceeding the recommended slot level. This requirement of
                                                                   16   approval is an outgrowth of MLB’s rules, which require all minor league contracts to be filed
                                                                   17   with and approved by the Commissioner.33
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                                                                   18         108.             A new, stricter system was instituted in 2012. The current system places limits
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                                                                   19   on the amounts Franchises can spend on signing bonuses.
                                                                   20         109.             MLB’s current Rule 4 draft, as developed and enforced by the Commissioner,
                                                                   21   requires all amateur players from Puerto Rico, the United States, and Canada to participate in
                                                                   22

                                                                   23   30
                                                                             MLR 4.
                                                                   24   31
                                                                          MLB teams offer large signing bonuses to the most talented amateur players as an incentive to
                                                                        forego college. Only the very top amateurs, however, receive large signing bonuses. The majority of amateurs
                                                                   25   signed through the draft receive quite small signing bonuses, usually around $2500.

                                                                   26   32
                                                                             MLC Art. II § 2.

                                                                   27   33
                                                                           See MLR 3(e) (requiring all contracts to be approved by the Commissioner); MLR Attachment 3, UPC ¶ XXVI
                                                                        (requiring approval by the Commissioner for the contract to have effect).
                                                                   28
                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   26
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 29 of 59


                                                                   1    the draft in order to sign with an MLB team.34 Beginning with the worst MLB team from the
                                                                   2    previous season, teams select amateur players over the course of forty rounds.
                                                                   3          110.             Players selected in the Rule 4 draft are between the ages of 18 and 22 (with the
                                                                   4    exception of a few players who are 23). Once selected by a Franchise, a player cannot bargain
                                                                   5    with any other Franchise, as MLB’s rules grant the drafting Franchise exclusive rights to the
                                                                   6    player.35
                                                                   7          111.             In addition to the draft, teams acquire previously amateur Latin American
                                                                   8    players through free agency. MLB rules allow the Franchises to sign the players as early as age
                                                                   9    sixteen, so most Latinos are either sixteen or seventeen when signing with a Franchise.36
                                                                   10         112.             Most Latino minor leaguers come from poor families and have only the
                                                                   11   equivalent of an eighth-grade education. Before signing, many are only represented by
                                                                   12   similarly-educated “buscones”—usually former players who maintain training facilities for
                                                                   13   young amateur players. Some of the Franchises’ scouts have been reprimanded in recent years
                                                                   14   for participating in bribes and kickback schemes with the buscones, and the FBI has even
                                                                   15   investigated the exploitative practices.37 These Latino signees comprise over forty percent of
                                                                   16   minor leaguers.
                                                                   17         113.             Like the slotting system, Mr. Selig also personally oversaw, and Mr. Manfred
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                                                                   18   continues to oversee the development of bonus pools for Latino players in an effort to curtail
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                                                                   19   Latino signing bonuses, which artificially and anti-competitively limits the amount each
                                                                   20   Franchise can spend on signing bonuses for Latino players.
                                                                   21         114.             Teams also sign additional players from the United States, Canada, and Puerto
                                                                   22   Rico who were not drafted in the Rule 4 draft.38 MLB rules place limits on when such free
                                                                   23   34
                                                                             MLR 4(a).
                                                                   24   35
                                                                             MLR 4(e).
                                                                   25   36
                                                                             See MLR 3(a).

                                                                   26   37
                                                                          See Jorge L. Ortiz, Exploitation, steroids hitting home in Dominican Republic, USA Today (Mar. 26, 2009),
                                                                        http://usatoday30.usatoday.com/sports/baseball/2009-03-26-dominican-republic-cover_N.htm.
                                                                   27
                                                                        38
                                                                             MLR 4(i).
                                                                   28
                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   27
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 30 of 59


                                                                   1    agent acquisitions can occur. Since they were not selected in the draft, they are viewed as less
                                                                   2    skilled amateur players and, even as free agents, have no bargaining power.
                                                                   3          115.             Defendants require all teams to use the same uniform player contract (“UPC”)
                                                                   4    when signing amateur players. MLR 3(b)(2) states:
                                                                   5               To preserve morale among Minor League players and to produce the similarity
                                                                                   of conditions necessary for keen competition, all contracts…shall be in the form
                                                                   6               of the Minor League Uniform Player Contract that is appended to these Rules as
                                                                                   Attachment 3. All Minor League Uniform Player Contracts between either a
                                                                   7
                                                                                   Major or a Minor League Club and a player who has not previously signed a
                                                                   8               contract with a Major or Minor League Club shall be for a term of seven Minor
                                                                                   League playing seasons…. The minimum salary in each season covered by a
                                                                   9               Minor League Uniform Player Contract shall be the minimum amount
                                                                                   established from time to time by the Major League Clubs….
                                                                   10

                                                                   11         116.             Moreover, “[a]ll contracts shall be in duplicate,” and “[a]ll…must be filed with
                                                                   12   the Commissioner…for approval.”39 No contract can vary any term without the approval of the
                                                                   13   Commissioner.40 A minor leaguer cannot work for an MLB team without signing the UPC
                                                                   14   because a “player’s refusal to sign a formal contract shall disqualify the player from playing
                                                                   15   with the contracting Club or entering the service of any Major or Minor League Club.”41
                                                                   16         117.             Thus, the UPC grants the MLB team the exclusive rights to the minor leaguer
                                                                   17   for seven championship seasons (about seven years).42 During that time period, the MLB team
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                                                                   18   may assign the minor leaguer’s rights to any other team, and the MLB team may terminate the
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                                                                   19   agreement at any time for almost any reason.43
                                                                   20         118.             But the minor leaguer cannot leave voluntarily to play for another baseball
                                                                   21   team—even outside of MLB, and even outside of the United States.44 A player doing so “shall
                                                                   22
                                                                        39
                                                                             MLR 3(b)(3); see also MLR 3(b)(4) (saying that a player cannot play until the UPC is signed).
                                                                   23
                                                                        40
                                                                             MLR 3(b)(3).
                                                                   24
                                                                        41
                                                                             MLR 3(d).
                                                                   25
                                                                        42
                                                                             MLR 3(b)(2); MLR Attachment 3, UPC ¶ VI.A.
                                                                   26
                                                                        43
                                                                             MLR 9; MLR Attachment 3, UPC ¶ XVIII.
                                                                   27
                                                                        44
                                                                             MLR 18; MLR Attachment 3, UPC ¶ XVI.
                                                                   28
                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   28
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 31 of 59


                                                                   1    be subject to the discipline of the Commissioner.”45 Retirement from baseball during the
                                                                   2    seven-year term requires the Commissioner’s approval.46
                                                                   3          119.             The UPC restricts a player in the minor leagues of a single organization. A
                                                                   4    minor leaguer selected in the amateur draft can only sign with the MLB team that drafted him.
                                                                   5    For the next seven years, the MLB team controls the minor leaguer’s rights. By the expiration
                                                                   6    of the contract, much of the value of the minor leaguer as a young prospect has expired
                                                                   7    because the player has aged.
                                                                   8          120.             Since the signing of a 1962 Player Development Plan, MLB requires MLB
                                                                   9    Franchises to maintain a certain number of minor league teams. Currently, all MLB teams have
                                                                   10   minor league teams at all the levels of the minor leagues, with most having either seven or
                                                                   11   eight minor league teams, until recently, when Defendants conspired and agreed to reduce the
                                                                   12   number of minor league teams and consequently, to reduce the number of minor leaguers,
                                                                   13   thereby increasing Defendants’ monopsony power to fix and depress, at anti-competitively low
                                                                   14   levels, the compensation paid to the Class Members.
                                                                   15         121.             Often the MLB Franchises do not operate the minor league stadium but instead
                                                                   16   sign agreements with owners of minor league teams. These agreements are known as Player
                                                                   17   Development Contracts (“PDC”), and the teams are affiliates of the MLB Franchises.
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                                                                   18         122.             MLB rules make clear that MLB and its Franchises remain the employers of
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                                                                   19   minor leaguers at all times when using PDCs. MLR 56(g) states:
                                                                   20              The players so provided shall be under contract exclusively to the Major League
                                                                                   Club and reserved only to the Major League Club. The Minor League Club shall
                                                                   21              respect, be bound by, abide by and not interfere with all contracts between the
                                                                                   Major League Club and the players that it has provided to the Minor League Club.
                                                                   22
                                                                              123.             Moreover, MLB requires the MLB Franchise to pay the salaries of the minor
                                                                   23
                                                                        league players at all times and allows the MLB Franchise the ability to control assignments.47
                                                                   24
                                                                              124.             Since minor leaguers do not belong to a union, nothing has prevented the
                                                                   25

                                                                   26   45
                                                                             MLR 18.

                                                                   27   46
                                                                             MLR 14.
                                                                        47
                                                                             MLR 56(g).
                                                                   28
                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   29
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 32 of 59


                                                                   1    Defendants from artificially and illegally depressing minor league wages. Because of
                                                                   2    Defendants’ monopsony over the entryway into the highest levels of baseball and given the young
                                                                   3    minor leaguer’s strong desire to enter the industry, Defendants have exploited minor leaguers by
                                                                   4    paying them depressed compensation, below what they would receive in a competitive market.
                                                                   5          125.             Plaintiffs are informed and believe that Defendants, through the Commissioner,
                                                                   6    issue minor league salary “guidelines” for players signed to an initial UPC, and teams deviate
                                                                   7    very little from these guidelines. MLR 3(c) requires that all first-year minor leaguers earn “the
                                                                   8    amount established by” MLB.48
                                                                   9          126.             Salaries beyond the first year are very similar across all Franchises. It is believed
                                                                   10   that Defendants conspire to discuss and agree to fix the compensation to be paid to minor leaguers
                                                                   11   (and other working conditions concerning minor leaguers). These price fixing agreements occur
                                                                   12   when MLB hosts its quarterly owner meetings that all Defendants attend.
                                                                   13         127.             While salary guidelines are not publicly available, the Plaintiffs are informed and
                                                                   14   believe, based on the salaries paid by the Defendants across the minor leagues, that, during the
                                                                   15   Class Period, the Defendants fixed the salaries paid to minor leaguers as low as $1,100 per month
                                                                   16   for Rookie and Short-Season A; $1,250 per month for Class-A; $1,500 per month for Class-AA;
                                                                   17   and $2,150 for Class-AAA, all for a 5-month period.
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                                                                   18         128.             Beyond the first year, the UPC required by MLB, and enforced by the
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                                                                   19   Commissioner, purports to allow salary negotiation by the minor leaguer, as the UPC states that
                                                                   20   salaries will be set out in an addendum to the UPC and subject to negotiation. 49 But the same
                                                                   21   UPC provision states that if the Franchise and minor leaguer do not agree on salary terms, the
                                                                   22   Franchise may unilaterally set the salary and the minor leaguer must agree to it.50
                                                                   23         129.             In truth, then, the UPC—and Defendants—do not allow for minor league salary
                                                                   24

                                                                   25   48
                                                                          As the 2013 Miami Marlins Minor League Player Guide states, “all first-year players receive $1,100 per month
                                                                        regardless of playing level per the terms of the [UPC].”
                                                                   26
                                                                        49
                                                                             MLR Attachment 3, UPC ¶ VII.A.
                                                                   27
                                                                        50
                                                                             MLR Attachment 3, UPC ¶ VII.A.
                                                                   28
                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   30
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 33 of 59


                                                                   1    negotiations. It is believed that the Franchises agree to follow MLB’s salary guidelines, and the
                                                                   2    minor leaguers must accept them. For example, the 2013 Miami Marlins Minor League Player
                                                                   3    Guide states, “This salary structure will be strictly adhered to; therefore, once a salary figure has
                                                                   4    been established and sent to you, there will be NO negotiations.”
                                                                   5          130.             MLB also centrally controls when and how minor leaguers are paid. During the
                                                                   6    championship season, the Franchises must pay minor leaguers “in two (2) semi-monthly
                                                                   7    installments on the 15th day and last day of the month.”51
                                                                   8          131.             The UPC, required by MLB, further states that salaries are only to be paid during
                                                                   9    the championship season, which lasts about five months out of the year. 52 Plaintiffs believe that,
                                                                   10   during the Class Period, most minor leaguers earned less than $12,000 per calendar year. Despite
                                                                   11   only being compensated during the approximately five-month championship season, MLB’s
                                                                   12   UPC “obligates minor leaguers to perform professional services on a calendar year basis,
                                                                   13   regardless of the fact that salary payments are to be made only during the actual championship
                                                                   14   playing season.”            53
                                                                                                         Consistent with that obligation, the UPC states that “Player therefore
                                                                   15   understands and agrees that Player’s duties and obligations under this Minor League Uniform
                                                                   16   Player Contract continue in full force throughout the calendar year.”
                                                                   17         132.             The Defendants’ application of the UPC, requires the minor leaguer to participate
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                                                                   18   in spring training.54 Again, the UPC does not allow for salaries during this period since spring
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                                                                   19   training falls outside the championship season, so minor leaguers work without earning a
                                                                   20   paycheck. The spring training season usually lasts around one month, during the month of March,
                                                                   21   but it sometimes lasts longer.
                                                                   22         133.             Around 30–50 minor leaguers per MLB Franchise do not earn a roster spot on a
                                                                   23
                                                                        51
                                                                             MLR Attachment 3, UPC ¶ VII.B.
                                                                   24
                                                                        52
                                                                          MLR Attachment 3, UPC ¶ VII.B. (“Obligation to make such payments to Player shall start with the beginning
                                                                   25   of Club’s championship playing season…[and] end with the termination of Club’s championship playing
                                                                        season….”).
                                                                   26
                                                                        53
                                                                             MLR Attachment 3, UPC ¶ VI.B.
                                                                   27
                                                                        54
                                                                             See MLR Attachment 3, UPC ¶ VI.B. (saying that the UPC applies to the “Club’s training season”).
                                                                   28
                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   31
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 34 of 59


                                                                   1    minor league team at the end of spring; they instead remain at the Franchise’s spring training site
                                                                   2    in “extended spring training.” Since they are not participating in a championship season, MLB’s
                                                                   3    UPC again does not require salaries to be paid.55 Upon information and belief, many of these
                                                                   4    players will not earn paychecks until the end of June, when the Rookie and Short-Season A
                                                                   5    leagues begin. Thus, many minor leaguers are not paid for work performed during March, April,
                                                                   6    May, and most of June.
                                                                   7          134.             At the end of the championship season, around 30–45 minor leaguers per MLB
                                                                   8    Franchise are also selected to participate in an instructional league to further hone their skills.
                                                                   9    Again, MLB’s UPC—as approved and enforced by Mr. Selig—requires minor leaguers to
                                                                   10   perform this work without pay since it is outside the championship season, so the minor
                                                                   11   leaguers receive no paychecks during the instructional league.56 The instructional leagues
                                                                   12   usually last around one month.
                                                                   13         135.             MLB’s UPC also requires minor leaguers to maintain “first-class” conditioning
                                                                   14   throughout the calendar year57 because the player’s “physical condition is important to…the
                                                                   15   success of the Club.”58 Consequently, a “Club may require Player to maintain Player’s playing
                                                                   16   condition and weight during the off-season and to report for practice and condition at such
                                                                   17
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                                                                        times and places as Club may determine.”59 If the player fails to meet these requirements, the
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                                                                   18   “Club may impose a reasonable fine upon Player….”60
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                                                                               136.
                                                                   19                          The Defendants therefore require players to perform extensive training and
                                                                   20   conditioning during the winter off-season. It is believed that all Franchises direct the winter work
                                                                   21   by issuing training packets to all the players. Many, and perhaps all, Franchises monitor workouts
                                                                   22
                                                                        55
                                                                             MLR Attachment 3, UPC ¶ VII.B.
                                                                   23
                                                                        56
                                                                             MLR Attachment 3, UPC ¶ VII.B.
                                                                   24
                                                                        57
                                                                             MLR Attachment 3, UPC ¶ XII.
                                                                   25
                                                                        58
                                                                             MLR Attachment 3, UPC ¶ VI.D.
                                                                   26
                                                                        59
                                                                             MLR Attachment 3, UPC ¶ VI.D.
                                                                   27
                                                                        60
                                                                             MLR Attachment 3, UPC ¶ VI.D.
                                                                   28
                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   32
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 35 of 59


                                                                   1    and punish players for not performing off-season workouts. Minor leaguers receive no wages
                                                                   2    during this training period because it is outside the championship season.61
                                                                   3
                                                                                                    III.        The Antitrust Exemption for the “Business of Baseball”
                                                                   4
                                                                              137.             The Defendants seek to avoid their “reserve clause” and UPC antitrust violations
                                                                   5
                                                                        under the judicially created exemption from the antitrust laws under the Federal Baseball,62
                                                                   6
                                                                        Toolson,63 and Flood 64 trilogy of Supreme Court cases. That judicially created exemption has
                                                                   7
                                                                        long since been criticized, even by the Supreme Court itself. [Justice Douglas in Flood, supra
                                                                   8
                                                                        407 U.S. at 286, summed it up. “This Court’s decision in Federal Baseball Club…is a derelict
                                                                   9
                                                                        in the stream of the law that we, its creator, should remove.”] and again in the recent case,
                                                                   10
                                                                        National Collegiate Athletic Association v. Allston 141 S.Ct. 2141, 2159, 2167-2168 (2021)
                                                                   11
                                                                        where the Supreme Court referenced the antitrust exemption for minor leaguers and questioned
                                                                   12
                                                                        it as something “akin” to an exemption. The exemption no longer has, if it ever had, any current
                                                                   13
                                                                        basis in economic reality, especially for the market in minor league professional baseball
                                                                   14
                                                                        players’ compensation where minor leaguers have no union, no collective bargaining, no free
                                                                   15
                                                                        agency, or other means of fairly negotiating for their services.
                                                                   16
                                                                              138.             The judicially created “baseball exemption” from the antitrust laws no longer
                                                                   17
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                                                                        has any underpinning. The initial rationale, that professional baseball’s cartel was not engaged
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                                                                   18
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                                                                        in interstate commerce and was therefore not subject to federal antitrust regulation, has since
                                                                   19
                                                                        been rejected by the Supreme Court, in its decision in Flood v. Kuhn, 407 U.S. 258 (1972). The
                                                                   20
                                                                        stare decisis rationale and the rationale that Congress, not the courts should redress the baseball
                                                                   21
                                                                        exemption also have no basis. Congress did address the issue in 1890, when it enacted the
                                                                   22
                                                                        Sherman Act to outlaw restraints on trade and the exercise of monopsony power that harm
                                                                   23

                                                                   24
                                                                        61
                                                                             See MLR Attachment 3, UPC ¶ VII.B.
                                                                   25
                                                                        62
                                                                             Fed. Baseball Club of Baltimore v. Nat'l League of Prof'l Base Ball Clubs, 259 U.S. 200 (1922).
                                                                   26
                                                                        63
                                                                             Toolson v. New York Yankees, Inc., 346 U.S. 356 (1953).
                                                                   27
                                                                        64
                                                                             Flood v. Kuhn, 407 U.S. 258 (1972)
                                                                   28
                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   33
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 36 of 59


                                                                   1    competition. There is no need for Congressional legislation, it already exists.
                                                                   2        139.               The “baseball exemption” allows the Defendants to conspire and collude,
                                                                   3    through the “reserve clause” and uniform player contracts, to prevent minor league baseball
                                                                   4    players from shopping their services to competing teams. It results in the per se antitrust
                                                                   5    violation of price fixing, at artificially low levels, the compensation minor league players can
                                                                   6    receive, by preventing minor league players from offering their services to competing teams
                                                                   7    who, in a competitive market, would offer them more for their services. The Defendants have a
                                                                   8    monopsony in the provision of professional baseball games and the players that produce those
                                                                   9    games. Defendants reap huge financial rewards as a result of their monopsony power and
                                                                   10   restraints on competition. The minor league players who have no union, no collective
                                                                   11   bargaining, and no free agency, are at a competitive disadvantage and need the protection of the
                                                                   12   antitrust laws to stop the financially superior Defendants from continuing to give the minor
                                                                   13   league players the short end of the bat.
                                                                   14       140.               Plaintiffs seek relief under the federal antitrust laws in connection with a
                                                                   15   threatened loss resulting from the unlawful exercise of market power by MLB in the market for
                                                                   16   minor league men's professional baseball contracts in the United States, Mexico, Canada and
                                                                   17   the Caribbean. MLB is excluding competition and restraining trade in that market through the
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                                                                   18   application of unreasonable restrictions on minor league player compensation by preventing
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                                                                   19   Defendants from negotiating, contracting, paying and competing for minor league players.
                                                                   20       141.               MLB is made up of separately owned competitive member teams and has
                                                                   21   monopsony market power in the provision of wage and compensation payments to minor league
                                                                   22   players in North America and Latin America. Use by Defendants of the reserve clause, the UPC,
                                                                   23   and draft, which grants each Club absolute veto power and control over their minor league
                                                                   24   players’ ability to negotiate and contract for higher compensation with other teams, are per se
                                                                   25   violations or, in the alternative, unreasonable, unlawful, and anticompetitive restraints under
                                                                   26   Section 1 of the Sherman Act.
                                                                   27       142.               Through MLB and the exclusionary and anticompetitive provisions in the MLB
                                                                   28
                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   34
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 37 of 59


                                                                   1    Constitution, Defendants have conspired to violate the antitrust laws, and have willfully acquired
                                                                   2    and maintained monopsony power in violation of Section 2 of the Sherman Act within the market
                                                                   3    for minor league professional baseball players by preventing such minor league players from
                                                                   4    freely negotiating with other teams for their services and the compensation they should receive.
                                                                   5        143.               MLB is comprised of thirty separately owned and operated major league men's
                                                                   6    baseball clubs in the United States and Canada. The MLB, like other sports leagues, have
                                                                   7    structured their governance to permit major decisions regarding on-field sporting competition
                                                                   8    and off-field business competition to be made by the club owners themselves. In so doing, the
                                                                   9    owners act in their own economic self-interest, including entering into a series of agreements that
                                                                   10   eliminate, restrict, and prevent off-field competition. These anticompetitive agreements go far
                                                                   11   beyond any cooperation reasonably necessary to provide minor league men's professional
                                                                   12   baseball contests to consumers.
                                                                   13       144.               This action challenges — and seeks to remedy — Defendants' per se or rule of
                                                                   14   reason or quick look violation of the federal antitrust laws and the use of the illegal cartel to
                                                                   15   institute and maintain the reserve clause and UPC as a means to stifle competition and suppress
                                                                   16   the compensation that minor leaguers receive, which would be significantly higher absent
                                                                   17   Defendants antitrust violations, which eliminate competition in the payment of minor leaguers.
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                                                                   18   Defendants have recently conspired and agreed, effective in November 2021, to eliminate 40 of
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                                                                   19   the 160 minor league teams and thereby increase their monopsony power and further reduce
                                                                   20   competition in the payment of minor league players. This conspiracy is directed at reducing the
                                                                   21   compensation paid to minor leaguers by eliminating competition for their services.
                                                                   22       145.               These violations of laws and restraints are not necessary to maintain and obtain
                                                                   23   the services of minor league players and are per se wage fixing violations or, in the alternative,
                                                                   24   are quick look or rule of reason violations of the antitrust laws. 15 U.S.C. §§1 and 2
                                                                   25

                                                                   26              VII.        The Agreements Have Restrained Competition and Have Had
                                                                                               Anticompetitive Effects and Led to Consumer Harm
                                                                   27
                                                                            146.               The above-described agreements have restrained horizontal competition
                                                                   28
                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   35
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 38 of 59


                                                                   1    between and among the Defendants and the MLB, including in the procurement of, and
                                                                   2    payment of compensation to, minor league players where the 30 defendant teams could and
                                                                   3    would compete with each other. In particular, in the absence of the reserve clause restrictions
                                                                   4    and other above-described competitive restraints, Defendants would compete with each other in
                                                                   5    the acquisition of, and compensation to minor league players to a much greater extent than they
                                                                   6    do now, which would result in higher compensation and wages paid to minor league players.
                                                                   7        147.               The above-described agreements have adversely affected and substantially
                                                                   8    lessened competition in the relevant market for acquisition of and payment to minor league
                                                                   9    baseball players.
                                                                   10       148.               Competition by individual Defendants independently acting to acquire and
                                                                   11   retain minor league players would benefit the minor league players by providing them better
                                                                   12   and competitive compensation.
                                                                   13       149.               There are no legitimate, pro-competitive justifications for these anti competitive
                                                                   14   restrictions on compensation and the inability of minor league players to offer their services to
                                                                   15   teams that will compete for their services and pay them higher compensation.
                                                                   16       150.               Defendants’ conspiracy and agreements to use the UPC and reserve clause have
                                                                   17   resulted in anticompetitive and unlawful purposes. The adverse effects of such misuse are
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                                                                   18   continuing, and the UPC restrictions on compensation and player movement should be enjoined
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                                                                   19   and declared unenforceable.
                                                                   20
                                                                                   IV.         Plaintiff and the Class Have Suffered Antitrust Injury – Damages for
                                                                   21
                                                                                               Violation of Section 1 of the Sherman Act
                                                                   22       151.               Plaintiff and the Class incorporate and reallege, as though fully set forth herein,
                                                                   23   Paragraphs 1 through 152 above.
                                                                   24       152.               Beginning at a time presently unknown to Plaintiffs, and continuing through the
                                                                   25   present, Defendants and their co-conspirators entered into a continuing agreement, combination
                                                                   26   or conspiracy in restraint of trade with the purpose, intent, and effect of restraining horizontal
                                                                   27   competition among the Defendants and the MLB, with the purpose, intent, and effect of
                                                                   28
                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   36
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 39 of 59


                                                                   1    restraining trade and commerce in the employment of and compensation paid to minor league
                                                                   2    professional baseball players, in violation of Section 1 of the Sherman Act, 15 U.S.C. § 1.
                                                                   3        153.               The contract, combination or conspiracy has resulted in an agreement,
                                                                   4    understanding, or concerted action between and among Defendants and their co-conspirators
                                                                   5    that minor league players are restrained and prevented from playing for and negotiating for
                                                                   6    compensation from other minor league professional baseball teams.
                                                                   7        154.               The contract, combination, or conspiracy has restrained competition between
                                                                   8    and among Defendants in violation of Section 1 of the Sherman Act. It has led to
                                                                   9    anticompetitive effects in the relevant markets resulting in below competitive compensation to
                                                                   10   minor leaguers, as alleged above and has caused injury to competition in those relevant markets
                                                                   11   and elsewhere.
                                                                   12       155.               Defendants' contract, combination, agreement, understanding or concerted
                                                                   13   action with the co-conspirators occurred in or affected interstate commerce. Defendants'
                                                                   14   unlawful conduct was through mutual understandings, combinations or agreements by, between
                                                                   15   and among Defendants and other unnamed co-conspirators. These other co-conspirators have
                                                                   16   either acted willingly or, due to coercion, unwillingly in furtherance of the unlawful restraint of
                                                                   17   trade alleged herein.
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                                                                   18       156.           Defendants' anticompetitive conduct has directly and proximately caused antitrust
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                                                                   19   injury, in the form of lower compensation (or no compensation) to minor league players than
                                                                   20   they would have received absent Defendants’ antitrust violations, as set forth above.
                                                                   21       157.           Plaintiff and the Class have suffered cognizable antitrust injury under the Sherman
                                                                   22   Act. There has been injury to competition in the relevant product market, which is the market
                                                                   23   for professional minor league baseball players. Defendants should, but do not compete for
                                                                   24   minor league players.
                                                                   25       158.           Defendants’ actions have placed direct and indirect restraints on the acquisition,
                                                                   26   movement, and payment of minor league players, all of which are per se antitrust wage fixing
                                                                   27   violations which directly and indirectly affect interstate commerce. Major League Baseball is
                                                                   28
                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   37
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 40 of 59


                                                                   1    an unreasonable and unlawful monopsony created, intended and maintained by Defendants for
                                                                   2    the purpose of permitting an intentionally select and limited group, the Defendants, to reap
                                                                   3    enormous profits. MLB has achieved these restraints on trade and its monopsony status by
                                                                   4    engaging in an unlawful combination and conspiracy, the substantial terms of which have been
                                                                   5    to eliminate all competition in the relevant market for minor league players, to exclude and
                                                                   6    prevent them from obtaining fair, competitive compensation for their services, to establish
                                                                   7    monopsony control of the relevant market for minor league players and to unreasonably
                                                                   8    restrain trade by conspiring to fix, at below market value, the compensation paid to minor
                                                                   9    league players.
                                                                   10       159.           Defendant's unlawful activities have resulted in (a) an unlawful restraint of trade in
                                                                   11   minor league players’ compensation; (b) the elimination of competition for minor league
                                                                   12   players’ services by fixing the compensation minor league players receive and by eliminating
                                                                   13   competition through the exercise of MLB’s exclusive, dominant and monopsony position in the
                                                                   14   minor league professional baseball market.
                                                                   15       160.           As a result of Defendants' anticompetitive agreements, Plaintiff and the Class are
                                                                   16   injured because minor league players are prevented from obtaining fair competitive
                                                                   17   compensation for their baseball services and are denied the freedom of movement otherwise
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                                                                   18   available to players in virtually every other professional sport in the United States.
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                                                                   19       161.           Plaintiff’s injuries are also injuries to the public and to competition. The major
                                                                   20   league teams lose the ability to field more competitive teams, the fans lose out on viewing a
                                                                   21   better baseball product, and the economy loses increased tax revenue, jobs, and business
                                                                   22   growth by increased minor league player purchasing power.
                                                                   23       162.           While the full amount of Plaintiff’s and the Class’s damages are not presently
                                                                   24   known, they will be calculated after discovery and will be awarded based on proof at trial. The
                                                                   25   combination and conspiracy alleged herein has injured Plaintiff and the Class and continues to
                                                                   26   threaten the Class with loss or damage in lower compensation than they would receive in a
                                                                   27   competitive market.
                                                                   28
                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   38
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 41 of 59


                                                                   1
                                                                                            Count 2: Damages for Violation of the Sherman Act 15 U.S.C. § 2
                                                                   2

                                                                   3        163.           Plaintiff and the Class incorporate and reallege, as though fully set forth herein,
                                                                   4    Paragraphs 1 through 162 above.
                                                                   5        164.           Defendants and their co-conspirators created, operated, aided, or abetted a trust,
                                                                   6    combine, or monopsony for the purpose of creating and carrying out restrictions on trade or
                                                                   7    commerce with the purpose, intent, and effect of restraining horizontal competition among the
                                                                   8    Defendants and the MLB for the acquisition of and compensation paid to minor league
                                                                   9    professional baseball players.
                                                                   10       165.           The trust, combination, or monopsony has resulted in an agreement,
                                                                   11   understanding, or concerted action between and among Defendants and their co-conspirators
                                                                   12   that suppresses the compensation paid to minor league players.
                                                                   13       166.           By virtue of the exclusionary and anticompetitive UPC (which all minor league
                                                                   14   players are required to sign) and the reserve clause of the MLB Constitution, Defendants,
                                                                   15   through MLB, have willfully acquired and maintained monopsony power in the relevant market
                                                                   16   by blocking the movement of and ability to negotiate and receive competitive compensation for
                                                                   17
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                                                                        minor league players, thereby preventing competition in the relevant market.
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                                                                   18       167.           The Defendants, which should be actual competitors in the market for minor
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                                                                   19   league men's professional baseball players, have conspired with and through MLB, through the
                                                                   20   monopolistic use of the UPC and “reserve clause” to maintain a monopsony power over these
                                                                   21   minor league players by refusing to allow them to negotiate with or move to or offer their
                                                                   22   services to other minor league teams, thereby restricting trade and commerce, limiting
                                                                   23   competition within the market area, and controlling at depressed below competitive
                                                                   24   compensation the wages and compensation paid to minor league players.
                                                                   25       168.           Through the anticompetitive conduct described herein, Defendants and their co-
                                                                   26   conspirators have willfully acquired and maintained, and unless restrained by the Court, will
                                                                   27   continue to willfully maintain, that monopsony power over the market for minor league players
                                                                   28
                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   39
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 42 of 59


                                                                   1    by anticompetitive and unreasonably exclusionary conduct. These activities have gone beyond
                                                                   2    those which could be considered as "legitimate business activities," and are an abuse of market
                                                                   3    position. Defendants and their co-conspirators have acted with an intent to illegally acquire and
                                                                   4    maintain that monopsony power in the relevant market, and their illegal conduct has enabled
                                                                   5    them to do so, in violation of the Sherman Act, 15 U.S.C. §§1 and 2.
                                                                   6        169.           Plaintiff and the Class have suffered an ascertainable loss of money or property as
                                                                   7    the result of the actions of Defendants and their co-conspirators, including but not limited to the
                                                                   8    loss of competitive, higher compensation they would have received in a competitive market
                                                                   9    absent Defendants’ anticompetitive actions.
                                                                   10       170.           The conduct of Defendants and their co-conspirators is a substantial factor in
                                                                   11   Plaintiff’s and the Class’s loss. The loss was a direct and proximate result of the willful
                                                                   12   conspiracy of Defendants and their co-conspirators to monopolize, restrain trade and lessen
                                                                   13   competition.
                                                                   14       171.           Because Defendants and their co-conspirators created, operated, aided, or abetted a
                                                                   15   trust with the purpose of lessening competition in the business of minor league baseball player
                                                                   16   compensation. Plaintiff and the Class seek damages and injunctive relief pursuant to 15 U.S.C.
                                                                   17   §§ 1, 2, 15. Pursuant to the Clayton Act, 15 U.S.C. § 15, Plaintiff and the Class are authorized
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                                                                   18   to recover three times the damages they sustained plus interest.
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                                                                   19       172.           As a direct and legal result of the acts of Defendants and their co-conspirators,
                                                                   20   Plaintiff was forced to file this action, resulting in ongoing attorneys' fees, costs, and other
                                                                   21   expenses for which he seeks recovery according to proof.
                                                                   22

                                                                   23
                                                                                  Count 3: Injunctive Relief - Violation of Sections 1 and 2 of The Sherman Act
                                                                   24

                                                                   25       173.           Plaintiff and the Class incorporate and reallege, as though fully set forth herein,

                                                                   26   Paragraphs 1 through 172 above.

                                                                   27       174.           Defendants possess monopsony power in the market for minor league men's

                                                                   28   professional baseball players.
                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   40
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 43 of 59


                                                                   1        175.           By virtue of exclusionary and anticompetitive provisions in the UPC and MLB
                                                                   2    Constitution, including the “reserve clause”, Defendants have willfully acquired and
                                                                   3    maintained monopsony power in the relevant market by blocking the movement of minor
                                                                   4    league players and their ability to negotiate and receive competitive compensation for their
                                                                   5    services, thereby preventing competition in that market.
                                                                   6        176.           Defendants (which should be actual competitors in the market for minor league
                                                                   7    men's professional baseball players) have conspired with and through MLB to maintain a
                                                                   8    monopsony power in the market for minor league players by unreasonably refusing to allow
                                                                   9    them to move from the clubs that drafted them or to negotiate for compensation.
                                                                   10       177.           Through the anticompetitive conduct described herein, Defendants and their co-
                                                                   11   conspirators have willfully acquired and maintained, and unless restrained by the Court, will
                                                                   12   continue to willfully maintain, that monopsony power over the market for minor league
                                                                   13   baseball players by anticompetitive and unreasonably exclusionary conduct. These activities
                                                                   14   have gone beyond those which could be considered as "legitimate business activities," and are
                                                                   15   an abuse of market position. Defendants and their co-conspirators have acted with an intent to
                                                                   16   illegally acquire and maintain that monopsony power in the relevant market, and their illegal
                                                                   17   conduct has enabled them to do so, in violation of Section 2 of the Sherman Act, 15 U.S.C. § 2.
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                                    San Francisco, CA 94111




                                                                   18       178.           Defendants' anticompetitive conduct has directly and proximately caused antitrust
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                                                                   19   injury to Plaintiff and the Class, as set forth above. Plaintiff and the Class will continue to
                                                                   20   suffer antitrust injury and threatened loss or damage unless Defendants are enjoined from
                                                                   21   continuing to engage in the above-described violations of the antitrust laws.
                                                                   22

                                                                   23                                              Count 4: Declaratory Relief - Curt Flood Act
                                                                   24       179.               Plaintiff realleges Paragraphs 1 through 178 above as though fully set forth
                                                                   25   herein.
                                                                   26       180.               In 1998, the MLB defendants lobbied and induced Congress to pass the Curt
                                                                   27   Flood Act (15 U.S.C. §26b(b)(1), (2)) which unlawfully discriminates against and denies equal
                                                                   28
                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   41
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 44 of 59


                                                                   1    protection of the antitrust laws (Sections 1 and 2 of the Sherman Act 15 U.S.C. §§1 and 2 and
                                                                   2    Section 4 of the Clayton Act 15 U.S.C. §15) to minor league baseball players, by specifically
                                                                   3    denying them the rights and protection to be free from antitrust violations, including
                                                                   4    conspiracies by Defendants to depress, at below market rates, the compensation paid to persons
                                                                   5    for their work all other similarly situated persons enjoy. There is no rational basis for the
                                                                   6    federal government’s enactment of this discriminatory law which, on its face and as applied,
                                                                   7    violates minor league baseball players’ right to equal protection of the law as guaranteed by the
                                                                   8    Fourteenth Amendment of the United states Constitution.
                                                                   9        181.               Plaintiff and the Class he represents have been and will continue to be harassed
                                                                   10   by this facially discriminatory law and its discriminatory application in that they have been and
                                                                   11   will continue in the future to be deprived of property in the form of depressed, non-competitive,
                                                                   12   fair wages and compensation for their services as minor league baseball players unless the law
                                                                   13   is declared unconstitutional, and its implementation is enjoined.
                                                                   14

                                                                   15                                                Count 5: Declaratory Relief - Sherman Act
                                                                   16       182.               Plaintiff and the Class reallege Paragraphs 1 through 181 above as though fully
                                                                   17   set forth herein.
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                                    San Francisco, CA 94111




                                                                   18       183.               In 1922, the United States Supreme Court, in Federal Baseball Club of
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                                                                   19   Baltimore v. National League of Professional Baseball Clubs 259 US 200 (1922), judicially
                                                                   20   created a so-called “business of baseball exemption” to the antitrust laws (Sections 1 and 2 of the
                                                                   21   Sherman Act 15 U.S.C. §§1 and 2) that supposedly exempted major league baseball teams,
                                                                   22   Defendants herein, from complying with the antitrust laws. In so doing, the Sherman Act was
                                                                   23   and has been treated and enforced as if its antitrust provisions and protections, including 15
                                                                   24   U.S.C. §§1 and 2, apply to all other persons and entities (with some reasonable exemptions),
                                                                   25   but do not apply to minor league baseball players.
                                                                   26       184.               That business of baseball purported exemption, read into the Sherman Act §§1
                                                                   27   and 2 and as applied, is unconstitutional since it discriminates, without a rational basis, against
                                                                   28
                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   42
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 45 of 59


                                                                   1    minor league players and deprives them of their constitutional right to equal protection of the
                                                                   2    law by specifically denying them the rights and protection to be free from antitrust violations,
                                                                   3    including conspiracies by Defendants to depress, at below market rates, the compensation paid
                                                                   4    to minor league baseball players. There is no rational basis for the federal government’s
                                                                   5    purported enactment and/or application of this discriminatory law (exemption) which, on its
                                                                   6    face and as applied, violates minor league baseball players’ right to equal protection of the law
                                                                   7    as guaranteed by the Fifth Amendment of the United States Constitution, and/or 42 U.S.C.
                                                                   8    §1983.
                                                                   9        185.               Plaintiff and the Class he represents have been and will continue to be harmed
                                                                   10   by this facially discriminatory law and its discriminatory application in that they have been and
                                                                   11   will continue in the future to be deprived of property in the form of depressed, non-competitive,
                                                                   12   fair wages and compensation for their services as minor league baseball players unless the law
                                                                   13   is declared unconstitutional, and its implementation is enjoined. The law and the exemption
                                                                   14   should be declared unconstitutional and voided and Defendants should be enjoined from
                                                                   15   continuing to violate the law and discriminate against minor league players in the compensation
                                                                   16   they are paid and in the teams for which they can play.
                                                                   17
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                                                                   18                                     FEDERAL WAGE AND HOUR VIOLATIONS
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                                                                   19                              Count 6: FLSA Minimum Wage and Overtime Violations
                                                                   20
                                                                                              (Plaintiff and the Minor League Collective Against All Defendants)
                                                                   21
                                                                            186.               Plaintiff Daniel Concepcion and the Class re-allege and incorporate by reference
                                                                   22
                                                                        all allegations in all preceding paragraphs.
                                                                   23
                                                                            187.               Common characteristics of the Proposed Classes. All of the Proposed Classes
                                                                   24
                                                                        share the following characteristics, making them all optimal for class resolution:
                                                                   25
                                                                            188.               Each of the Proposed Classes is so numerous that joinder of all members is
                                                                   26
                                                                        impracticable. While the exact number of Class members in each Class is unknown to Plaintiff
                                                                   27
                                                                        at this time, Plaintiff is informed and believes that several hundred geographically dispersed
                                                                   28
                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   43
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 46 of 59


                                                                   1    Class members worked, will work, and continue to work as minor leaguers in Puerto Rico and
                                                                   2    other applicable states, either during spring training, at promotional events, during other
                                                                   3    training and work periods, or during championship seasons occurring within the states.
                                                                   4        189.               Plaintiff’s claims are typical of the claims of the other members of each of the
                                                                   5    Proposed Classes. Plaintiff and the members of the Proposed Classes were subject to the same
                                                                   6    or similar compensation practices arising out of Defendants’ common course of conduct in
                                                                   7    violation of the FLSA and applicable state laws as alleged herein. Plaintiff and the Proposed
                                                                   8    Classes have sustained similar types of damages as a result of these common practices.
                                                                   9        190.               Plaintiff will fairly and adequately protect the interests of the members of all
                                                                   10   members of the Proposed Classes because they possess the same interests and suffered the
                                                                   11   same general injuries as class members. Plaintiff has retained counsel competent and
                                                                   12   experienced in class action litigation, including employment litigation.
                                                                   13       191.               Common questions of law and fact exist as to all members of the Proposed Classes
                                                                   14   and predominate over any questions affecting solely individual members of the Class. Among
                                                                   15   the many questions of law and fact common to the Proposed Classes are:
                                                                   16
                                                                                   (a) whether Defendants conspired and agreed to and did set wages at a rate below the
                                                                   17
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                                                                                   minimum wages required under the FLSA and/or Puerto Rico’s labor laws;
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                                                                   19              (b) whether Defendants paid and continue to pay no wages at all during certain pay
                                                                   20              periods, contrary to the requirements of federal and Puerto Rico’s applicable labor laws;
                                                                   21
                                                                                   (c) whether any exemptions apply to the industry or to minor leaguers;
                                                                   22

                                                                   23              (d) whether Defendants require all minor leaguers to sign the same UPC, which controls

                                                                   24              minor leaguers’ pay and pay periods and enables the unlawful labor practices;

                                                                   25
                                                                                   (e) whether Defendants willfully, or with reckless disregard, carried out their unlawful
                                                                   26
                                                                                   practices;
                                                                   27

                                                                   28              (f) the compensability of certain work periods and the appropriate method of measuring
                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   44
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 47 of 59


                                                                   1               damages for the injuries sustained by Plaintiffs and other members of the Proposed
                                                                   2               Classes as a result of Defendants’ unlawful labor activities; and
                                                                   3
                                                                                   (g) Whether Defendants have colluded, conspired, agreed and/or acted or refused to act
                                                                   4
                                                                                   on grounds generally applicable to the Plaintiff Class, thereby making final injunctive
                                                                   5
                                                                                   or declaratory relief appropriate with respect to the Plaintiff Class as a whole.
                                                                   6

                                                                   7
                                                                            192.               A class action is superior to other available methods for the fair and efficient
                                                                   8
                                                                        adjudication of this controversy because joinder of all members in each of the Proposed Classes
                                                                   9
                                                                        is impracticable. The prosecution of separate actions by individual members of the Proposed
                                                                   10
                                                                        Classes would impose heavy burdens on the courts and the parties, and would create a risk of
                                                                   11
                                                                        inconsistent or varying adjudications of the questions of law and fact common to the Class. A
                                                                   12
                                                                        class action, on the other hand, would achieve substantial economies of time, effort, and
                                                                   13
                                                                        expense, and would assure uniformity of decision as to persons similarly situated, without
                                                                   14
                                                                        sacrificing procedural fairness or bringing about other undesirable results.
                                                                   15
                                                                            193.               The interest of members of each of the Proposed Classes in individually
                                                                   16
                                                                        controlling the prosecution of separate actions is highly limited and impractical. Each of the
                                                                   17
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                                                                        Proposed Classes has a high degree of cohesion and prosecution of the action through
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                                                                   18
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                                                                        representatives would be unobjectionable. The amounts at stake for Class members, while
                                                                   19
                                                                        substantial in the aggregate, are often not great individually. As individuals, the class members
                                                                   20
                                                                        would lack the resources to vigorously litigate against the ample and powerful resources of the
                                                                   21
                                                                        Defendants’ cartel. Importantly, many of the Class members are current minor league players
                                                                   22
                                                                        and would not bring an individual action out of fear of retaliation. Lastly, Plaintiff does not
                                                                   23
                                                                        anticipate any difficulty in the management of this action as a class action.
                                                                   24

                                                                   25

                                                                   26                              IV.         FLSA COLLECTIVE ACTION ALLEGATIONS

                                                                   27       194.               Plaintiff Daniel Concepcion and the Class bring Counts 6 and 7, the FLSA
                                                                   28
                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   45
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 48 of 59


                                                                   1    claims, and Counts 8 and 9 Puerto Rico minimum wage and overtime claims on behalf of
                                                                   2    themselves and all persons similarly situated from 2012 through resolution of this action (the
                                                                   3    “Minor League Collective”).
                                                                   4
                                                                            195.               The Defendants are liable under the FLSA for, inter alia, failing to properly
                                                                   5
                                                                        compensate Plaintiff and the members of the Minor League Collective. The Minor League
                                                                   6
                                                                        Collective consists of thousands of similarly situated individuals who have been, will be, and/or
                                                                   7
                                                                        continue to be underpaid during certain work periods and not paid at all during other work
                                                                   8
                                                                        periods. This Collective would benefit from the issuance of a court-supervised notice of the
                                                                   9
                                                                        lawsuit and the opportunity to join the lawsuit.
                                                                   10
                                                                            196.               The members of the Minor League Collective are known to Defendants, are
                                                                   11
                                                                        readily identifiable, and can be located through Defendants’ records. Notice should be sent to
                                                                   12
                                                                        the members of the Collective pursuant to 29 U.S.C. § 216(b).
                                                                   13

                                                                   14                                V.          JURISDICTION, VENUE, AND COMMERCE

                                                                   15       197.               This Court has subject matter jurisdiction with respect to Plaintiffs’ federal
                                                                   16   claims pursuant to 28 U.S.C. §§ 1331 and 1337, and jurisdiction over Plaintiff’s Puerto Rico
                                                                   17
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                                                                        labor law claims pursuant to 28 U.S.C. § 1367 (supplemental jurisdiction).
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                                                                   18       198.               Plaintiff’s and the Class’s Puerto Rico labor law claims are so closely related to
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                                                                   19   Plaintiff’s and the Class’s claims under the FLSA that they form part of the same case or
                                                                   20   controversy under Article III of the United States Constitution.
                                                                   21       199.               Additionally, and/or alternatively, this Court has jurisdiction over Plaintiff’s and
                                                                   22   the Class’s Puerto Rico labor law claims under 28 U.S.C. § 1332 because the amount in
                                                                   23   controversy for the Proposed Classes exceeds $5,000,000 and there are members of the
                                                                   24   Proposed Classes who are citizens of a different state than Defendants, as well as members of
                                                                   25   the Proposed Classes who are citizens of Puerto Rico.
                                                                   26       200.               This Court also has jurisdiction over Plaintiffs’ claims under the FLSA pursuant
                                                                   27   to 29 U.S.C. § 216(b).
                                                                   28
                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   46
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 49 of 59


                                                                   1        201.               All Defendants are subject to personal jurisdiction in Puerto Rico since all
                                                                   2    Defendants transact a significant amount of business in Puerto Rico.
                                                                   3        202.               Defendants’ conduct had a direct, substantial, and reasonably foreseeable effect
                                                                   4    on interstate commerce in Puerto Rico. The Defendants host baseball games, operate baseball
                                                                   5    leagues, and transact business in multiple states. The Defendants routinely use instruments of
                                                                   6    interstate commerce, such as interstate railroads, highways, waterways, wires, wireless
                                                                   7    spectrum, and the U.S. mail, to carry out their operations.
                                                                   8        203.               Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) and (c) because
                                                                   9    a substantial part of the events or omissions giving rise to the claims occurred in this District
                                                                   10   and were intended to and did have an effect in this District. All the Defendants transact
                                                                   11   business in this District. Plaintiff, Daniel Concepcion, was employed by the Kansas Royals
                                                                   12   organization, and worked for a significant period of time at by the Kansas Royals
                                                                   13   organization, one of the conspirators, some or all of whom committed the labor law violations
                                                                   14   alleged herein in this District and/or intended their violative actions to have an effect in this
                                                                   15   District.
                                                                   16       204.               Upon information and belief, each Franchise employs minor leaguers from
                                                                   17   Puerto Rico.
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                                    San Francisco, CA 94111




                                                                   18       205.               All causes of action asserted in this Complaint are closely related to one another
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                                                                   19   and each accrued under the same common set of facts and share a common nucleus of operative
                                                                   20   facts. Each cause of action emanates from the same uniform contract, from the same policies and
                                                                   21   practices, as applied to the same group of employees. As detailed above, the Defendants have
                                                                   22   engaged in a long-standing and widespread violation of the FLSA. The FLSA’s minimum wage
                                                                   23   and overtime requirements, 29 U.S.C. §§ 201 et seq., and the supporting regulations, apply to all
                                                                   24   Defendants and protect Plaintiffs and the class members.
                                                                   25       206.               At all relevant times, Plaintiffs and all the minor leaguers of the proposed class
                                                                   26   were (and/or continue to be) employees within the meaning of 29 U.S.C. § 203(e) and were
                                                                   27   (and/or continue to be) employed by covered enterprises and/or entities engaged in commerce
                                                                   28
                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   47
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 50 of 59


                                                                   1    and/or the production or sale of goods for commerce within the meaning of 29 U.S.C. §§ 203(e),
                                                                   2    (r) and (s). The work also regularly involves interstate commerce.
                                                                   3        207.               At all relevant times, the Defendants jointly employed (and/or continue to
                                                                   4    employ) Plaintiffs and all similarly situated minor leaguers within the broad meaning of 29
                                                                   5    U.S.C. §§ 203(d) and (g).
                                                                   6        208.               The Defendants constructed, implemented, and engaged in a policy and/or
                                                                   7    practice of failing to pay Plaintiff and the Class and all similarly situated minor leaguers the
                                                                   8    applicable minimum wage for all hours the minor leaguers worked on behalf of Defendants, and
                                                                   9    continue to engage in such a policy and practice.
                                                                   10       209.               Further, the Defendants constructed, implemented, and engaged in a policy and
                                                                   11   practice that failed to pay Plaintiff and all similarly situated minor leaguers the applicable
                                                                   12   overtime wage for all hours minor leaguers worked beyond the normal, forty-hour workweek,
                                                                   13   and continue to engage in such a policy and practice.
                                                                   14       210.               Defendants also implemented and engaged in the policy and/or practice of failing
                                                                   15   to pay Plaintiff and all similarly situated minor leaguers any wages at all for many hours the
                                                                   16   minor leaguers worked on behalf of Defendants and continue to engage in such policies and
                                                                   17   practices.
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                                                                   18       211.               As a result of these minimum wage and overtime violations, Plaintiff and all
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                                                                   19   similarly situated minor leaguers have suffered and continue to suffer damages in amounts to be
                                                                   20   determined at trial, and are entitled to recovery of such amounts, liquidated damages,
                                                                   21   prejudgment interest, attorneys’ fees, costs, and other compensation pursuant to 29 U.S.C. §
                                                                   22   216(b).
                                                                   23       212.               The Defendants’ pattern of unlawful conduct was and continues to be willful and
                                                                   24   intentional, or the Defendants at least acted with reckless disregard. The Defendants were and
                                                                   25   are aware, or should have been aware, that the practices described in this Complaint are unlawful.
                                                                   26   The Defendants have not made a good-faith effort to comply with the FLSA with respect to the
                                                                   27   compensation of Plaintiffs and all similarly situated minor leaguers. Instead, the Defendants
                                                                   28
                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   48
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 51 of 59


                                                                   1    knowingly and/or recklessly disregarded federal wage and hour laws.
                                                                   2          213.             All similarly situated minor leaguers are entitled to collectively participate in this
                                                                   3    action by choosing to “opt-in” and submitting written Consents to Join this action. 29 U.S.C. §
                                                                   4    216(b).
                                                                   5          214.             In 2018, Defendants coerced and fraudulently induced Congress, with promises
                                                                   6    to maintain minor league baseball reams in the then 160 towns and cities where they were located,
                                                                   7    to pass the so-called Save America’s Pastime Act (29 U.S.C. §213(a)(19)) which purported to
                                                                   8    exempt the MLB Defendants from the minimum wage, overtime and record keeping
                                                                   9    requirements. That law (exemption) is unconstitutional in that it discriminates against Plaintiff
                                                                   10   and minor league players and deprives them of equal protection of the laws, without a rational
                                                                   11   basis for doing so. As a result, Defendants’ actions before and continuing after the passage of
                                                                   12   Save America’s Pastime Act violate Plaintiff’s and the Class’s rights under the FLSA and Puerto
                                                                   13   Rico labor laws.
                                                                   14                                            Count 7: FLSA Record Keeping Requirements
                                                                   15
                                                                              215.             Plaintiff and the Class re-allege and incorporate by reference all allegations in all
                                                                   16
                                                                        preceding paragraphs.
                                                                   17
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                                                                              216.             The Defendants failed (and continue to fail) to make, keep, and preserve accurate
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                                                                        records with respect to Plaintiffs and all similarly situated minor leaguers, including hours
                                                                   19
                                                                        worked each workday and total hours worked each workweek, as required by the FLSA, 29
                                                                   20
                                                                        U.S.C. § 211(c), and supporting federal regulations.
                                                                   21
                                                                              217.             The lack of recordkeeping has harmed the Plaintiffs and creates a rebuttable
                                                                   22
                                                                        presumption that the employees’ estimates of hours worked are accurate.65
                                                                   23

                                                                   24                        VIII.              PUERTO RICO WAGE AND HOUR VIOLATIONS
                                                                   25
                                                                              218.             The Puerto Rico law Counts seek to recover for all minor league work performed
                                                                   26
                                                                        by the Proposed Classes, including (but not limited to) below minimum wage compensation for
                                                                   27

                                                                   28   65
                                                                             See Anderson v. Mt. Clemens Pottery Co., 328 U.S. 680, 687-88 (1946).
                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   49
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 52 of 59


                                                                   1    hours worked; hours worked in those states in excess of 40 hours per week or for no pay, and for
                                                                   2    winter off-season work. Plaintiffs are informed and believe that, during the winter work periods,
                                                                   3    most Puerto Rico minor league class members return to Puerto Rico where they were drafted,
                                                                   4    where they reside, and where they perform some of their work without pay.
                                                                   5        219.               The minor league class members are employed throughout the United states and
                                                                   6    Puerto Rico, making joinder of those minor leaguers impracticable. Thus, Plaintiff is informed
                                                                   7    and believes that all Defendants employed and continue to employ minor leaguers in each of the
                                                                   8    states and in Puerto Rico during the relevant time periods. Upon information and belief, Plaintiff
                                                                   9    further alleges that each of the Defendants violated the minimum wage and overtime laws of
                                                                   10   Puerto Rico including, but not limited to below minimum wage compensation for hours worked
                                                                   11   (29 LPR §250); hours worked in those states in excess of 40 hours per week and/or for no pay,
                                                                   12   uncompensated winter off-season work and/or work performed during other portions of the year.
                                                                   13   (29 LPR §273)
                                                                   14

                                                                   15                                     Count 8: Puerto Rico Minimum Wage Violations

                                                                   16
                                                                           (The Puerto Rico Class Representatives and the Puerto Rico Class Against All Defendants)
                                                                   17
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                                                                                                                   (Violation of Puerto Rico 29 LPR §250)
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                                    San Francisco, CA 94111




                                                                   18
                                                                            220.               Plaintiff re-alleges and incorporates by reference all allegations in all preceding
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                                                                   19
                                                                        paragraphs.
                                                                   20
                                                                            221.               Failure of an employer to pay its employees the minimum wage fixed by the
                                                                   21
                                                                        Puerto Rico Labor Commission violates, inter alia, 29 LPR §250.
                                                                   22

                                                                   23       222.               Defendants failed to pay the Puerto Rico Class Representatives and Puerto Rico

                                                                   24   Class Members the minimum wage for all hours worked, by requiring them to perform work
                                                                   25   for less than the hourly minimum wage and for work without compensation.
                                                                   26
                                                                            223.               Pursuant to 29 LPR §§250 and 282, Puerto Rico Class Representatives and
                                                                   27
                                                                        Puerto Rico Class Members are entitled to recover in a civil action the unpaid balance of the
                                                                   28
                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   50
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 53 of 59


                                                                        full amount of the minimum wage for all hours worked.
                                                                   1

                                                                   2        224.               29 LPR §282 provides that any employer who violates any provision regulating

                                                                   3    hours and days of work shall be subject to civil penalties. As a result of Defendants’ violation,
                                                                   4    Puerto Rico Class Representatives and Puerto Rico Class Members are entitled to and hereby
                                                                   5
                                                                        seek civil penalties equal to unpaid wages in an amount according to proof, plus attorney’s fees
                                                                   6
                                                                        and costs.
                                                                   7
                                                                            225.               Puerto Rico Class Representatives and Puerto Rico Class Members seek
                                                                   8

                                                                   9    liquidated damages pursuant to 29 LPR §282.

                                                                   10       226.               Puerto Rico Class Representatives and Puerto Rico Class Members seek to

                                                                   11   recover all unpaid minimum wages, penalties, and interest due to them.
                                                                   12       227.               As a result of Defendants’ conduct, Puerto Rico Class Representatives and
                                                                   13
                                                                        Puerto Rico Class Members are also entitled to attorneys' fees under 29 LPR §282, in addition
                                                                   14
                                                                        to interest, expenses and costs of suit.
                                                                   15

                                                                   16       228.               Pursuant to Puerto Rico law, the Defendants are and were required to pay the
                                                                   17
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                                                                        Puerto Rico Class Representatives and the Puerto Rico Class a minimum wage set by 29 LPR
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                                    San Francisco, CA 94111




                                                                   18   §250 et. seq. Puerto Rico’s minimum wage requirements apply to the Defendants and protect the
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                                                                   19   Puerto Rico Class Representatives and the Puerto Rico Class.
                                                                   20       229.               The Defendants constructed, implemented, and engaged in a policy and/or
                                                                   21   practice of failing to pay the Puerto Rico Class Representatives and all of the Puerto Rico Class
                                                                   22   the applicable minimum wage for all hours they suffered or permitted the minor leaguers to work,
                                                                   23   and they continue to engage in such practices.
                                                                   24       230.               As a result of these minimum wage violations, the Puerto Rico Class
                                                                   25   Representatives and the Puerto Rico Class have suffered (and continue to suffer) damages in
                                                                   26   amounts to be determined at trial, and are entitled to recovery of such amounts, liquidated
                                                                   27   damages, and other compensation pursuant to 29 LPR §§ 250 and 282.
                                                                   28
                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   51
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 54 of 59


                                                                   1        231.               As a result of Defendants’ conduct, Puerto Rico Class Representatives and Puerto
                                                                   2    Rico Class Members are also entitled to attorneys' fees under 29 LPR §282, in addition to interest,
                                                                   3    expenses and costs of suit.
                                                                   4        232.               The Defendants pattern of unlawful conduct was and continues to be willful and
                                                                   5    intentional, or at least with reckless disregard. The Defendants were aware or should have been
                                                                   6    aware that the practices described in this Complaint are unlawful. The Defendants have not made
                                                                   7    a good-faith effort to comply with Puerto Rico’s minimum wage requirements with respect to
                                                                   8    the compensation of the Puerto Rico Class Representatives and the Puerto Rico Class, and instead
                                                                   9    knowingly and/or recklessly disregarded Puerto Rico law.
                                                                   10

                                                                   11                                    Count 9: Puerto Rico Unpaid Overtime Violations

                                                                   12
                                                                           (The Puerto Rico Class Representatives and the Puerto Rico Class Against All Defendants)
                                                                   13
                                                                                                                     (Violation of 29 LPR §§ 273 et. seq.)
                                                                   14
                                                                            233.               Plaintiffs re-allege and incorporate by reference all allegations in all preceding
                                                                   15
                                                                        paragraphs.
                                                                   16
                                                                            234.               29 LPR § 273 provides that work in excess of eight hours in a day, or 40 hours
                                                                   17
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                                  155 Jackson Street, Suite 1807




                                                                        in a week, must be compensated at a rate not less than one and one-half times the regular rate of
                                    San Francisco, CA 94111




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                                                                   19   pay for an employee.

                                                                   20       235.               Puerto Rico Class Representatives and Puerto Rico Class Members work, or
                                                                   21   have worked, more than eight hours in a day and more than 40 hours in a week and were not
                                                                   22
                                                                        paid at the overtime rate for all hours worked.
                                                                   23
                                                                            236.               Pursuant to 29 LPR §273, Puerto Rico Class Representatives and Puerto Rico
                                                                   24
                                                                        Class Members are entitled to recover in a civil action the unpaid balance of the full amount of
                                                                   25

                                                                   26   overtime compensation for all excess hours worked.

                                                                   27       237.               29 LPR §282 provides that any employer who violates any provision regulating

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                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   52
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 55 of 59


                                                                        hours and days of work shall be subject to civil penalties. As a result of Defendants’ violations,
                                                                   1

                                                                   2    Puerto Rico Class Representatives and Puerto Rico Class Members are entitled to and hereby

                                                                   3    seek civil penalties in an amount according to proof.
                                                                   4        238.               Puerto Rico Class Representatives and Puerto Rico Class Members seek to
                                                                   5
                                                                        recover all unpaid overtime wages, penalties, and interest due to them.
                                                                   6
                                                                            239.               Puerto Rico Class Representatives and Puerto Rico Class Members are also
                                                                   7
                                                                        entitled to attorneys' fees under 29 LPR §282, in addition to penalties, interest, expenses and
                                                                   8

                                                                   9    costs of suit.

                                                                   10
                                                                            240.               Throughout the Puerto Rico Class period, the Puerto Rico Class Representatives
                                                                   11
                                                                        and the Puerto Rico Class routinely worked (and continue to work) in excess of 8 hours per
                                                                   12
                                                                        workday, sometimes work(ed) in excess of 12 hours in a workday, routinely work(ed) in excess
                                                                   13
                                                                        of 40 hours in a workweek, usually work(ed) 7 days in a workweek and sometimes in excess of
                                                                   14
                                                                        8 hours on the seventh day of the workweek.
                                                                   15
                                                                            241.               The Defendants failed and continue to fail to pay the Puerto Rico Class
                                                                   16
                                                                        Representatives and the Puerto Rico Class overtime wages as required by 29 LPR §273.
                                                                   17
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                                                                            242.               As a result of these violations, the Puerto Rico Class Representatives and the
                                  155 Jackson Street, Suite 1807
                                    San Francisco, CA 94111




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                                                                        Puerto Rico Class have suffered and continue to suffer damages in amounts to be determined at
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                                                                   19
                                                                        trial, and are entitled to recover such amounts, liquidated damages, prejudgment interest,
                                                                   20
                                                                        attorneys’ fees, costs, and other compensation pursuant to 29 LPR §282.
                                                                   21

                                                                   22

                                                                   23
                                                                                                                                 IX. PRAYER FOR RELIEF
                                                                   24
                                                                                   WHEREFORE, Plaintiff, on his own and on behalf of all other similarly situated persons,
                                                                   25
                                                                        seek the following relief:
                                                                   26
                                                                                   1. That at the earliest possible time, Plaintiff be allowed to give notice of this collective
                                                                   27
                                                                                         action, or that the Court issue such notice, to members of the Minor League
                                                                   28
                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   53
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 56 of 59


                                                                   1                     Collective, as defined above. Such notice shall inform them that this civil action has
                                                                   2                     been filed, of the nature of the action, and of their right to join this lawsuit if they
                                                                   3                     believe they were denied (and/or continue to be denied) proper wages;
                                                                   4               2. Unpaid minimum wages and overtime wages, that have accrued and continue to
                                                                   5                     accrue until the resolution of this action, and an additional and an equal amount as
                                                                   6                     liquidated damages pursuant to the FLSA and the supporting regulations;
                                                                   7               3. Unpaid wages and pay pursuant to Puerto Rico labor laws that have accrued and
                                                                   8                     continue to accrue until the resolution of this action, and liquidated damages pursuant
                                                                   9                     to Puerto Rico law and supporting regulations;
                                                                   10              4. Statutory damages for Defendants’ recordkeeping violations pursuant to federal and
                                                                   11                    Puerto Rico law;
                                                                   12              5.     Certification of the Proposed Antitrust Classes, as set forth above, pursuant to Rule
                                                                   13                    23 of the Federal Rules of Civil Procedure;
                                                                   14              6. Designation of the named Plaintiff herein as class representative of the Classes,
                                                                   15                    designation of their undersigned counsel of record as Class Counsel, and a reasonable
                                                                   16                    incentive payment to Plaintiff;
                                                                   17              10. Pre-judgment and post-judgment interest as permitted by law;
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                                    San Francisco, CA 94111




                                                                   18              11. An injunction requiring Defendants to pay compensatory damages for all non-
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                                                                   19                    competitive wages and treble damages and an order enjoining Defendants from
                                                                   20                    continuing or reinstating their unlawful policies and practices as described within this
                                                                   21                    Complaint;
                                                                   22              12.         Reasonable attorneys’ fees and costs of the action; and
                                                                   23              13.         Such other relief as this Court shall deem just and proper.
                                                                   24
                                                                                   14.         This Court declare the conduct of Defendants, and each of them, constituted a
                                                                   25   conspiracy and that Defendants, and each of them, are liable for the conduct of or damage
                                                                   26   inflicted by any other co-conspirator;
                                                                   27              15.         Defendants, and each of them, be permanently enjoined from enforcing the
                                                                   28
                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   54
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 57 of 59


                                                                   1    “reserve clause” which unlawfully restricts the movement by and compensation paid to, minor
                                                                   2    league players;
                                                                   3               16.         The contract, combination or conspiracy, and the acts done in furtherance
                                                                   4    thereof by Defendants and their co-conspirators as alleged in this complaint, be adjudged to
                                                                   5    have been a violation of Section 1 of the Sherman Act, 15 U.S.C. § 1;
                                                                   6               17.         The actions of Defendants and their co-conspirators to illegally acquire and
                                                                   7    maintain monopsony power in the relevant product market be adjudged to have been in
                                                                   8    violation of Section 2 of the Sherman Act, 15 U.S.C. § 2;
                                                                   9               18.         Judgment be entered for Plaintiffs and the Class and against Defendants for
                                                                   10   three times the amount of damages sustained by Plaintiffs as allowed by law, together with the
                                                                   11   costs of this action, including reasonable attorneys' fees, pursuant to Sections 4 and 16 of the
                                                                   12   Clayton Act, 15 U.S.C. §§ 15 and 26;
                                                                   13              19.         Plaintiffs be awarded prejudgment and post-judgment interest at the highest
                                                                   14   legal rate from and after the date of service of this Complaint to the extent provided by law;
                                                                   15              20.         Defendants and their co-conspirators be enjoined from further violations of the
                                                                   16   antitrust laws;
                                                                   17              21.         Designation of the named Plaintiffs herein as class representatives of the Class,
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                                  155 Jackson Street, Suite 1807
                                    San Francisco, CA 94111




                                                                   18   designation of their undersigned counsel of record as Class Counsel, and a reasonable incentive
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                                                                   19   payment to Plaintiffs;
                                                                   20              22.         That the Court order and declare that the so-called business of baseball, the Curt
                                                                   21   Flood Act 15 U.S.C. §15(b)(1), (2) and the Save America’s Pastime Act 29 U.S.C. §213(a)(19)
                                                                   22   are unconstitutional, void and of no effect since their enactments, and that Defendants be
                                                                   23   enjoined from further violations of said acts.
                                                                   24              23.         Plaintiff and the Puerto Rico Class be awarded judgment and compensatory
                                                                   25   damages, penalties, interest, and attorney’s fees according to proof.
                                                                   26
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                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   55
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 58 of 59


                                                                   1               24.         Plaintiffs and the Class have such other, further relief, as this Court may deem just
                                                                   2    and proper under the circumstances.
                                                                   3

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                                                                   5
                                                                        DATED: January10, 2022                                             LAW OFFICES OF SAMUEL KORNHAUSER
                                                                   6

                                                                   7                                                                                             and

                                                                   8                                                                       LAW OFFICES OF BRIAN DAVID
                                                                   9                                                                                             and
                                                                   10
                                                                                                                                           BAELLA & BAELLA
                                                                   11

                                                                   12                                                                      By: /s/ Rafael Baella-Silva
                                                                                                                                                  Rafael Baella-Silva
                                                                   13

                                                                   14                                                                             Attorneys for Plaintiff and
                                                                                                                                                  those similarly situated
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                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   56
                                                                        Case 3:22-cv-01017-ADC Document 1 Filed 01/11/22 Page 59 of 59


                                                                                                                   X.         DEMAND FOR JURY TRIAL
                                                                   1

                                                                   2               Plaintiffs hereby demand a trial by jury of all issues so triable.
                                                                   3

                                                                   4

                                                                   5    DATED: January __, 2022                                            LAW OFFICES OF SAMUEL KORNHAUSER

                                                                   6                                                                                             and
                                                                   7                                                                       LAW OFFICES OF BRIAN DAVID
                                                                   8
                                                                                                                                                                 and
                                                                   9
                                                                                                                                           BAELLA & BAELLA
                                                                   10

                                                                   11                                                                      By: /s/ Rafael Baella-Silva
                                                                   12                                                                             Rafael Baella-Silva

                                                                   13                                                                             Attorneys for Plaintiff and
                                                                                                                                                  those similarly situated
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                                    San Francisco, CA 94111




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                                                                        Puerto Rico MLB Class Action Baseball - Complaint - 10-JAN-2022   57
